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                                                    Return Service Requested                                         Page:             1 of 5
                                                                                                                     Statement Date: 10/30/2020
                                                                                                                     Primary Account: XXXXXX3877
                                                                         07001
                                                                                                                     Documents:       0

                                                                                                                     Period: 09/30/20 to 10/30/20
MGMCSTMTN 201031-16655-0001




                                                                                                                     E
                                                            HOPCAT-ANN ARBOR LLC                              <T> 30-0
                                                            35 OAKES ST SW STE 400                                   0
                                                            GRAND RAPIDS, MI 49503                                   0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                       Account: XXXXXX3877
                               Last Statement     Previous Balance        This Statement    Current Balance     Total Credits       Total Debits
                                  09/30/20              0.00                     10/30/20        0.00          212,306.59 (134)    212,306.59 (59)


                              CREDITS
                              Date Description                                                                                             Amount
                              10/01   Postmates Inc. 1080 Sep 2 St-                                                                          63.84
                              10/01   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                  214.84
                              10/01   American Express Settlement XXXXXX3218                                                                253.38
                              10/01   Doordash, Inc. 311 Maynar St-                                                                       1,068.13
                              10/02   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                  139.62
                              10/02   Postmates Inc. 1080 Sep 3 St-                                                                         140.93
                              10/02   Grubhub Inc Sep Actvty                                                                                270.55
                              10/02   American Express Settlement XXXXXX3218                                                                342.32
                              10/02   Grubhub Inc Sep Actvty                                                                                954.36
                              10/02   Doordash, Inc. 311 Maynar St-                                                                       1,054.38
                              10/02   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                        3,747.01
                              10/05   Postmates Inc. 1080 Oct 1 St-                                                                          79.69
                              10/05   Postmates Inc. 1080 Oct 3 St-                                                                         107.21
                              10/05   Postmates Inc. 1080 Oct 2 St-                                                                         174.69
                              10/05   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                  366.50
                              10/05   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                  449.14
                              10/05   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                  454.13
                              10/05   American Express Settlement XXXXXX3218                                                                579.72
                              10/05   Doordash, Inc. 311 Maynar St-                                                                         618.70
                              10/05   American Express Settlement XXXXXX3218                                                              1,384.87
                              10/05   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                        4,187.07
                              10/05   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                        7,837.87
                              10/05   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                       10,786.53
                              10/06   Postmates Inc. 1080 Oct 4 St-                                                                          82.24
                              10/06   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                  519.16
                              10/06   American Express Settlement XXXXXX3218                                                                581.81
                              10/06   Doordash, Inc. 311 Maynar St-                                                                       1,874.76
                              10/06   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                        4,658.78
                              10/07   Postmates Inc. 1080 Oct 5 St-                                                                          12.81
                              10/07   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                  270.73
                              10/07   American Express Settlement XXXXXX3218                                                                409.19
                              10/07   Doordash, Inc. 311 Maynar St-                                                                         783.31
                              10/07   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                        2,876.21
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                                            Case:20-01947-jwb          Doc #:440-2 Filed: 02/09/2021             Page 3 of 60
                                                                             HOPCAT-ANN ARBOR LLC                     Page:            3 of 5
                                                                             35 OAKES ST SW STE 400
                                                                             GRAND RAP DS, MI 49503                   Statement Date: 10/30/2020
                                                                                                                      Primary Account: XXXXXX3877




                               CREDITS (Continued)
MGMCSTMTN 201031-16655-0003




                              Date Description                                                                                          Amount
                              10/20   Doordash, Inc. 311 Maynar St-                                                                     2,723.08
                              10/20   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      5,716.46
                              10/21   Postmates Inc. 1080 Oct 1 St-                                                                        12.30
                              10/21   American Express Settlement XXXXXX3218                                                               44.34
                              10/21   Postmates Inc. 1080 Oct 1 St-                                                                        54.17
                              10/21   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                404.71
                              10/21   Doordash, Inc. 311 Maynar St-                                                                     1,436.31
                              10/21   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      2,409.51
                              10/21   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      2,973.54
                              10/22   Postmates Inc. 1080 Oct 2 St-                                                                        34.68
                              10/22   American Express Settlement XXXXXX3218                                                              146.77
                              10/22   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                408.75
                              10/22   Doordash, Inc. 311 Maynar St-                                                                     1,787.89
                              10/23   Postmates Inc. 1080 Oct 2 St-                                                                        15.87
                              10/23   American Express Settlement XXXXXX3218                                                              110.20
                              10/23   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                322.35
                              10/23   Doordash, Inc. 311 Maynar St-                                                                     1,468.22
                              10/23   Grubhub Inc Oct Actvty                                                                            2,012.04
                              10/23   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      2,425.18
                              10/23   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      2,507.72
                              10/26   Postmates Inc. 1080 Oct 2 St-                                                                        23.52
                              10/26   Postmates Inc. 1080 Oct 2 St-                                                                        85.47
                              10/26   Postmates Inc. 1080 Oct 2 St-                                                                       186.75
                              10/26   American Express Settlement XXXXXX3218                                                              255.97
                              10/26   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                290.51
                              10/26   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                344.53
                              10/26   American Express Settlement XXXXXX3218                                                              481.15
                              10/26   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                636.39
                              10/26   American Express Settlement XXXXXX3218                                                              661.76
                              10/26   Doordash, Inc. 311 Maynar St-                                                                     1,025.45
                              10/26   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      5,874.38
                              10/26   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      7,428.61
                              10/27   American Express Settlement XXXXXX3218                                                              379.82
                              10/27   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                679.69
                              10/27   Doordash, Inc. 311 Maynar St-                                                                     3,118.91
                              10/27   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      4,661.45
                              10/28   American Express Settlement XXXXXX3218                                                               22.15
                              10/28   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                408.70
                              10/28   Transfer From Coml Analysis Ck Account                                                           11,626.93
                              10/29   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                309.45
                              10/29   Transfer From Coml Analysis Ck Account                                                              439.85
                              10/30   Grubhub Inc Oct Actvty                                                                            2,067.88

                               CHECKS
                               Date      Check No      Amount         Date         Check No           Amount   Date      Check No     Amount
                              10/28       70502       12,057.78
                              * Indicates a Gap in Check Number Sequence

                               DEBITS
                              Date Description                                                                                          Amount
                              10/01   Henry A. Fox Sal Fintecheft XX-XXX5229                                                             108.00
                              10/01   Transfer To Coml Analysis Ck Account                                                               191.18
                              10/01   O & W, Incorpora Fintecheft XX-XXX5229                                                             220.45
                              10/01   Daniel L. Jacob Fintecheft XX-XXX5229                                                              229.90
                              10/01   Imperial Beverag Fintecheft XX-XXX5229                                                             424.00
                              10/01   State Of Michgwl Liquorsale #xxxxx5229                                                             426.66
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                                                                          35 OAKES ST SW STE 400
                                                                          GRAND RAP DS, MI 49503                Statement Date: 10/30/2020
                                                                                                                Primary Account: XXXXXX3877




                              DEBITS (Continued)
MGMCSTMTN 201031-16655-0004




                              Date Description                                                                                    Amount
                              10/02   Transfer To Coml Analysis Ck Account                                                        6,649.17
                              10/05   Mthchgs Worldpay Merch Bankcard           Hopcat- Ann Arbor                                 3,505.88
                              10/05   Transfer To Coml Analysis Ck Account                                                       23,520.24
                              10/06   Rave Associates, Fintecheft XX-XXX5229                                                         85.00
                              10/06   Billng Vantiv_intg_pymt Merch Bankcard        Hopcat Ann Arbor - Ecomm                        269.12
                              10/06   State Of Michgwl Liquorsale #xxxxx3039                                                        421.83
                              10/06   State Of Michnws Liquorsale #xxxxx6995                                                        730.51
                              10/06   Red Tap Draught Sale                                                                          875.00
                              10/06   Transfer To Coml Analysis Ck Account                                                        5,335.29
                              10/07   Transfer To Coml Analysis Ck Account                                                        4,352.25
                              10/08   O & W, Incorpora Fintecheft XX-XXX5229                                                        337.00
                              10/08   Rave Associates, Fintecheft XX-XXX5229                                                        363.00
                              10/08   Imperial Beverag Fintecheft XX-XXX5229                                                      1,336.30
                              10/08   Transfer To Coml Analysis Ck Account                                                        2,809.67
                              10/09   Fintech.net Fintecheft XX-XXX5229                                                              37.32
                              10/09   Transfer To Coml Analysis Ck Account                                                        6,633.93
                              10/13   Comb. Exc. Worldpay Worldpay Comb. Exc.                    Hop                                 34.56
                              10/13   Comb. Exc. 5/3 Bankcard Sys Worldpay Comb. Exc.                 Hop                           775.94
                              10/13   Transfer To Coml Analysis Ck Account                                                       43,465.54
                              10/14   State Of Michgwl Liquorsale #xxxxx2340                                                        232.05
                              10/14   State Of Michnws Liquorsale #xxxxx0784                                                        519.56
                              10/14   Olo - Help@olo.c Purchase Denise Willison                                                     919.13
                              10/14   Transfer To Coml Analysis Ck Account                                                        3,716.32
                              10/15   O & W, Incorpora Fintecheft XX-XXX5229                                                         85.60
                              10/15   Commercial Service Charge                                                                      92.82
                              10/15   Rave Associates, Fintecheft XX-XXX5229                                                        159.00
                              10/15   Transfer To Coml Analysis Ck Account                                                        2,432.30
                              10/16   Imperial Beverag Fintecheft XX-XXX5229                                                        481.70
                              10/16   Transfer To Coml Analysis Ck Account                                                       10,346.64
                              10/19   Transfer To Coml Analysis Ck Account                                                       20,779.30
                              10/20   State Of Michgwl Liquorsale #xxxxx9863                                                        234.49
                              10/20   State Of Michnws Liquorsale #xxxxx7250                                                        247.13
                              10/20   Rave Associates, Fintecheft XX-XXX5229                                                        300.00
                              10/20   Imperial Beverag Fintecheft XX-XXX5229                                                        504.00
                              10/20   Transfer To Coml Analysis Ck Account                                                        8,534.94
                              10/21   Positive Solutio Support                                                                      580.83
                              10/21   Transfer To Coml Analysis Ck Account                                                        6,754.05
                              10/22   O & W, Incorpora Fintecheft XX-XXX5229                                                         75.15
                              10/22   Imperial Beverag Fintecheft XX-XXX5229                                                        293.90
                              10/22   Daniel L. Jacob Fintecheft XX-XXX5229                                                         430.00
                              10/22   Rave Associates, Fintecheft XX-XXX5229                                                        669.15
                              10/22   Transfer To Coml Analysis Ck Account                                                          909.89
                              10/23   Transfer To Coml Analysis Ck Account                                                        8,861.58
                              10/26   Transfer To Coml Analysis Ck Account                                                       17,294.49
                              10/27   State Of Michnws Liquorsale #xxxxx2212                                                        226.33
                              10/27   State Of Michgwl Liquorsale #xxxxx1009                                                        235.97
                              10/27   M4 C.i.c, Llc Fintecheft XX-XXX5229                                                           360.00
                              10/27   Transfer To Coml Analysis Ck Account                                                        8,017.57
                              10/29   O & W, Incorpora Fintecheft XX-XXX5229                                                        114.35
                              10/29   Imperial Beverag Fintecheft XX-XXX5229                                                        211.95
                              10/29   Rave Associates, Fintecheft XX-XXX5229                                                        423.00
                              10/30   Transfer To Coml Analysis Ck Account                                                        2,067.88
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                                                              35 OAKES ST SW STE 400
                                                              GRAND RAP DS, MI 49503                Statement Date: 10/30/2020
                                                                                                    Primary Account: XXXXXX3877




                              DAILY BALANCE
                                Date          Balance       Date                       Balance   Date            Balance
MGMCSTMTN 201031-16655-0005




                               10/01                        10/13                                10/22
                               10/02                        10/14                                10/23
                               10/05                        10/15                                10/26
                               10/06                        10/16                                10/27
                               10/07                        10/19                                10/28
                               10/08                        10/20                                10/29
                               10/09                        10/21                                10/30
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                                          BarFly Ventures
                                        Reconciliation Report
                                                      As Of 10/25/2020
                                        Account: Checking-Mercantile HC-AA
Statement Ending Balance                                                                                              0.00

Deposits in Transit                                                                                              24,455.39

Outstanding Checks and Charges                                                                                  -12,057.78

Adjusted Bank Balance                                                                                            12,397.61



Book Balance                                                                                                     12,397.61

Adjustments*                                                                                                          0.00

Adjusted Book Balance                                                                                            12,397.61




                         Total Checks and Charges Cleared                 216,918.55 Total Deposits Cleared     216,918.55




Deposits
Name                     Memo                                            Date            Doc No      Cleared     In Transit

General Ledger Entry     Unknown AMEX Variance HCAA                      07/26/2020          eft                       1.11

General Ledger Entry     AMEX                                            08/07/2020                   442.30

General Ledger Entry     AMEX                                            08/08/2020                   302.78

General Ledger Entry     WORLD PAY - OLO AMEX                            08/09/2020                    14.84

General Ledger Entry     AMEX                                            08/11/2020                   468.36

General Ledger Entry     WORLD PAY - OLO TENDER                          09/03/2020                   455.54

General Ledger Entry     WORLD PAY - OLO TENDER                          09/10/2020                   199.72

General Ledger Entry     WORLD PAY - OLO AMEX                            09/10/2020                    38.42

General Ledger Entry     AMEX                                            09/10/2020                                 251.85

General Ledger Entry     WORLDPAY                                        09/10/2020                               4,160.74

General Ledger Entry     WORLD PAY - OLO TENDER                          09/11/2020                   545.89

General Ledger Entry     WORLD PAY - OLO AMEX                            09/15/2020                                    6.36

General Ledger Entry     AMEX                                            09/16/2020                   445.75

General Ledger Entry     WORLD PAY - OLO AMEX                            09/19/2020                    14.52

General Ledger Entry     WORLDPAY                                        09/24/2020                  5,092.64

General Ledger Entry     WORLDPAY                                        09/25/2020                  8,558.27

General Ledger Entry     WORLD PAY - OLO AMEX                            09/25/2020                      8.48

General Ledger Entry     WORLDPAY                                        09/26/2020                  9,412.80

General Ledger Entry     WORLD PAY - OLO AMEX                            09/26/2020                                    6.36

General Ledger Entry     WORLDPAY                                        09/27/2020                  6,175.14

General Ledger Entry     Unknown AMEX Variance HCAA                      09/28/2020          eft         2.32

General Ledger Entry     AMEX                                            09/28/2020                    67.63

General Ledger Entry     WORLD PAY - OLO TENDER                          09/28/2020                   214.84
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General Ledger Entry     WORLDPAY                                     09/28/2020          2,603.31

General Ledger Entry     Postmates Sales HCAA 09.28.20                09/28/2020           181.41

General Ledger Entry     Postmates Sales HCAA 09.28.20                09/28/2020            77.72

General Ledger Entry     Postmates Sales HCAA 09.28.20                09/28/2020           118.77

General Ledger Entry     DoorDash Sales HCAA 09.28.20                 09/28/2020           604.53

General Ledger Entry     Unknown WORLDPAY Variance HCAA               09/29/2020   eft        8.30

General Ledger Entry     Interco CASH                                 09/29/2020   eft     539.22

General Ledger Entry     WORLD PAY - OLO TENDER                       09/29/2020           139.62

General Ledger Entry     AMEX                                         09/29/2020           247.92

General Ledger Entry     DoorDash Sales HCAA 09.29.20                 09/29/2020          2,507.14

General Ledger Entry     Postmates Sales HCAA 09.29.20                09/29/2020            58.64

General Ledger Entry     WORLD PAY - OLO AMEX                         09/29/2020            12.99

General Ledger Entry     WORLDPAY                                     09/29/2020          3,075.66

General Ledger Entry     Unknown WORLDPAY Variance HCAA               09/30/2020   eft      13.40

General Ledger Entry     Unknown WORLDPAY Variance HCAA               09/30/2020   eft        4.29

General Ledger Entry     Unknown WORLDPAY Variance HCAA               09/30/2020   eft        1.31

General Ledger Entry     Unknown AMEX Variance HCAA                   09/30/2020   eft        7.96

General Ledger Entry     Unknown AMEX Variance HCAA                   09/30/2020   eft        1.80

General Ledger Entry     WORLD PAY - OLO TENDER                       09/30/2020           449.14

General Ledger Entry     AMEX                                         09/30/2020           352.42

General Ledger Entry     DoorDash Sales HCAA 09.30.20                 09/30/2020           982.99

General Ledger Entry     Postmates Sales HCAA 09.30.20                09/30/2020            63.84

General Ledger Entry     WORLDPAY                                     09/30/2020          3,747.01

General Ledger Entry     AMEX                                         10/01/2020           488.89

General Ledger Entry     WORLDPAY                                     10/01/2020          4,187.07

General Ledger Entry     DoorDash Sales HCAA 10.01.20                 10/01/2020          1,068.13

General Ledger Entry     WORLD PAY - OLO TENDER                       10/01/2020           366.50

General Ledger Entry     WORLD PAY - OLO AMEX                         10/01/2020                     107.88

General Ledger Entry     Unknown AMEX Variance HCAA                   10/02/2020   eft      26.44

General Ledger Entry     GRUBHUB Sales HCAA 10.02.20                  10/02/2020           270.55

General Ledger Entry     DoorDash Sales HCAA 10.02.20                 10/02/2020          1,054.38

General Ledger Entry     Postmates Sales HCAA 10.02.20                10/02/2020           140.93

General Ledger Entry     WORLDPAY                                     10/02/2020          7,837.87

General Ledger Entry     WORLD PAY - OLO TENDER                       10/02/2020           454.13

General Ledger Entry     GRUBHUB Sales HCAA 10.02.20                  10/02/2020           954.36

General Ledger Entry     AMEX                                         10/02/2020           568.03

General Ledger Entry     WORLD PAY - OLO AMEX                         10/02/2020            29.95

General Ledger Entry     Unknown AMEX Variance HCAA                   10/03/2020   eft        5.46

General Ledger Entry     WORLD PAY - OLO TENDER                       10/03/2020           519.16

General Ledger Entry     AMEX                                         10/03/2020           827.68

General Ledger Entry     WORLDPAY                                     10/03/2020         10,786.53

General Ledger Entry     WORLD PAY - OLO AMEX                         10/04/2020            15.37

General Ledger Entry     WORLDPAY                                     10/04/2020          4,658.78

General Ledger Entry     WORLD PAY - OLO TENDER                       10/04/2020           270.73
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General Ledger Entry     AMEX                                         10/04/2020           583.66

General Ledger Entry     Unknown AMEX Variance HCAA                   10/05/2020   eft        6.50

General Ledger Entry     Unknown AMEX Variance HCAA                   10/05/2020   eft        2.64

General Ledger Entry     WORLD PAY - OLO TENDER                       10/05/2020           270.87

General Ledger Entry     WORLDPAY                                     10/05/2020          2,876.21

General Ledger Entry     Postmates Sales HCAA 10.05.20                10/05/2020           107.21

General Ledger Entry     Postmates Sales HCAA 10.05.20                10/05/2020           174.69

General Ledger Entry     Postmates Sales HCAA 10.05.20                10/05/2020            79.69

General Ledger Entry     DoorDash Sales HCAA 10.05.20                 10/05/2020           618.70

General Ledger Entry     AMEX                                         10/05/2020                     421.50

General Ledger Entry     Postmates Sales HCAA 10.06.20                10/06/2020            82.24

General Ledger Entry     AMEX                                         10/06/2020           375.87

General Ledger Entry     WORLD PAY - OLO TENDER                       10/06/2020           100.92

General Ledger Entry     DoorDash Sales HCAA 10.06.20                 10/06/2020          1,874.76

General Ledger Entry     WORLDPAY                                     10/06/2020          2,843.61

General Ledger Entry     Postmates Sales HCAA 10.07.20                10/07/2020            12.81

General Ledger Entry     DoorDash Sales HCAA 10.07.20                 10/07/2020           783.31

General Ledger Entry     WORLD PAY - OLO TENDER                       10/07/2020           448.06

General Ledger Entry     WORLDPAY                                     10/07/2020          3,788.58

General Ledger Entry     AMEX                                         10/07/2020                      82.70

General Ledger Entry     WORLD PAY - OLO AMEX                         10/07/2020                     127.00

General Ledger Entry     DoorDash Sales HCAA 10.08.20                 10/08/2020          1,184.83

General Ledger Entry     AMEX                                         10/08/2020           554.95

General Ledger Entry     WORLDPAY                                     10/08/2020          6,095.64

General Ledger Entry     WORLD PAY - OLO AMEX                         10/08/2020           127.47

General Ledger Entry     WORLD PAY - OLO TENDER                       10/08/2020           281.93

General Ledger Entry     Postmates Sales HCAA 10.08.20                10/08/2020           181.50

General Ledger Entry     Unknown AMEX Variance HCAA                   10/09/2020   eft        4.01

General Ledger Entry     Unknown AMEX Variance HCAA                   10/09/2020   eft        9.78

General Ledger Entry     Unknown AMEX Variance HCAA                   10/09/2020   eft        0.51

General Ledger Entry     AMEX                                         10/09/2020           883.27

General Ledger Entry     WORLD PAY - OLO TENDER                       10/09/2020           747.36

General Ledger Entry     WORLDPAY                                     10/09/2020          8,092.45

General Ledger Entry     Postmates Sales HCAA 10.09.20                10/09/2020            72.50

General Ledger Entry     GRUBHUB Sales HCAA 10.09.20                  10/09/2020          1,296.63

General Ledger Entry     DoorDash Sales HCAA 10.09.20                 10/09/2020          1,208.89

General Ledger Entry     WORLD PAY - OLO AMEX                         10/09/2020                      78.18

General Ledger Entry     AMEX                                         10/10/2020           730.56

General Ledger Entry     WORLD PAY - OLO TENDER                       10/10/2020           451.10

General Ledger Entry     WORLDPAY                                     10/10/2020         10,730.40

General Ledger Entry     WORLD PAY - OLO AMEX                         10/11/2020            50.59

General Ledger Entry     AMEX                                         10/11/2020           725.84

General Ledger Entry     WORLD PAY - OLO TENDER                       10/11/2020           719.50

General Ledger Entry     WORLDPAY                                     10/11/2020          7,082.95
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General Ledger Entry     AMEX                                         10/12/2020          554.55

General Ledger Entry     WORLDPAY                                     10/12/2020         2,997.75

General Ledger Entry     WORLD PAY - OLO TENDER                       10/12/2020          422.27

General Ledger Entry     Unknown AMEX Variance HCAA                   10/13/2020   eft       4.83

General Ledger Entry     Unknown WORLDPAY Variance HCAA               10/13/2020   eft       1.76

General Ledger Entry     WORLDPAY                                     10/13/2020         2,813.45

General Ledger Entry     WORLD PAY - OLO TENDER                       10/13/2020          235.71

General Ledger Entry     DoorDash Sales HCAA 10.13.20                 10/13/2020         3,236.98

General Ledger Entry     DoorDash Sales HCAA 10.13.20                 10/13/2020         1,067.51

General Ledger Entry     AMEX                                         10/13/2020                    391.38

General Ledger Entry     Unknown WORLDPAY Variance HCAA               10/14/2020   eft       7.23

General Ledger Entry     WORLDPAY                                     10/14/2020         3,062.90

General Ledger Entry     DoorDash Sales HCAA 10.14.20                 10/14/2020         1,337.09

General Ledger Entry     AMEX                                         10/14/2020          690.80

General Ledger Entry     WORLD PAY - OLO AMEX                         10/14/2020           24.91

General Ledger Entry     WORLD PAY - OLO TENDER                       10/14/2020          413.54

General Ledger Entry     Unknown AMEX Variance HCAA                   10/15/2020   eft       4.30

General Ledger Entry     WORLD PAY - OLO AMEX                         10/15/2020                     89.96

General Ledger Entry     Postmates Sales HCAA 10.15.20                10/15/2020          264.27

General Ledger Entry     Postmates Sales HCAA 10.15.20                10/15/2020           44.98

General Ledger Entry     Postmates Sales HCAA 10.15.20                10/15/2020          103.21

General Ledger Entry     Postmates Sales HCAA 10.15.20                10/15/2020           38.33

General Ledger Entry     Postmates Sales HCAA 10.15.20                10/15/2020          190.10

General Ledger Entry     Postmates Sales HCAA 10.15.20                10/15/2020           71.92

General Ledger Entry     DoorDash Sales HCAA 10.15.20                 10/15/2020         1,254.47

General Ledger Entry     AMEX                                         10/15/2020          426.66

General Ledger Entry     WORLD PAY - OLO TENDER                       10/15/2020          485.99

General Ledger Entry     WORLDPAY                                     10/15/2020         4,396.48

General Ledger Entry     Unknown AMEX Variance HCAA                   10/16/2020   eft       1.03

General Ledger Entry     Postmates Sales HCAA 10.16.20                10/16/2020           63.05

General Ledger Entry     AMEX                                         10/16/2020          779.28

General Ledger Entry     WORLD PAY - OLO AMEX                         10/16/2020           23.55

General Ledger Entry     WORLD PAY - OLO TENDER                       10/16/2020          648.83

General Ledger Entry     DoorDash Sales HCAA 10.16.20                 10/16/2020         1,124.34

General Ledger Entry     GRUBHUB Sales HCAA 10.16.20                  10/16/2020         1,250.83

General Ledger Entry     WORLDPAY                                     10/16/2020         6,956.44

General Ledger Entry     WORLD PAY - OLO AMEX                         10/17/2020           13.10

General Ledger Entry     WORLD PAY - OLO TENDER                       10/17/2020          603.91

General Ledger Entry     WORLDPAY                                     10/17/2020         9,421.14

General Ledger Entry     AMEX                                         10/17/2020          529.01

General Ledger Entry     WORLD PAY - OLO AMEX                         10/18/2020                     84.49

General Ledger Entry     WORLDPAY                                     10/18/2020         5,716.46

General Ledger Entry     WORLD PAY - OLO TENDER                       10/18/2020          399.41

General Ledger Entry     AMEX                                         10/18/2020          715.52
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General Ledger Entry   Unknown AMEX Variance HCAA                    10/19/2020         eft          7.88

General Ledger Entry   Unknown AMEX Variance HCAA                    10/19/2020         eft          5.17

General Ledger Entry   Postmates Sales HCAA 10.19.20                 10/19/2020                   127.24

General Ledger Entry   Postmates Sales HCAA 10.19.20                 10/19/2020                    80.36

General Ledger Entry   AMEX                                          10/19/2020                    36.95

General Ledger Entry   WORLD PAY - OLO AMEX                          10/19/2020                      8.69

General Ledger Entry   WORLD PAY - OLO TENDER                        10/19/2020                   408.75

General Ledger Entry   WORLDPAY                                      10/19/2020                  2,409.51

General Ledger Entry   DoorDash Sales HCAA 10.19.20                  10/19/2020                   733.84

General Ledger Entry   Postmates Sales HCAA 10.19.20                 10/19/2020                   103.55

General Ledger Entry   WORLD PAY - OLO TENDER                        10/20/2020                   322.35

General Ledger Entry   WORLDPAY                                      10/20/2020                  2,973.54

General Ledger Entry   DoorDash Sales HCAA 10.20.20                  10/20/2020                  2,723.08

General Ledger Entry   AMEX                                          10/20/2020                   151.08

General Ledger Entry   Unknown AMEX Variance HCAA                    10/21/2020         eft          3.50

General Ledger Entry   AMEX                                          10/21/2020                   113.45

General Ledger Entry   WORLDPAY                                      10/21/2020                  2,425.18

General Ledger Entry   WORLD PAY - OLO TENDER                        10/21/2020                                  290.51

General Ledger Entry   Postmates Sales HCAA 10.21.20                 10/21/2020                    12.30

General Ledger Entry   Postmates Sales HCAA 10.21.20                 10/21/2020                    54.17

General Ledger Entry   DoorDash Sales HCAA 10.21.20                  10/21/2020                  1,436.31

General Ledger Entry   WORLDPAY                                      10/22/2020                  2,507.72

General Ledger Entry   WORLD PAY - OLO TENDER                        10/22/2020                   636.39

General Ledger Entry   Postmates Sales HCAA 10.22.20                 10/22/2020                    34.68

General Ledger Entry   DoorDash Sales HCAA 10.22.20                  10/22/2020                  1,787.89

General Ledger Entry   Postmates Sales HCAA 10.22.20                 10/22/2020                    15.87

General Ledger Entry   AMEX                                          10/22/2020                   263.53

General Ledger Entry   WORLD PAY - OLO TENDER                        10/23/2020                   349.28

General Ledger Entry   WORLD PAY - OLO AMEX                          10/23/2020                    53.14

General Ledger Entry   AMEX                                          10/23/2020                   442.36

General Ledger Entry   WORLDPAY                                      10/23/2020                                5,874.38

General Ledger Entry   DoorDash Sales HCAA 10.23.20                  10/23/2020                  1,468.22

General Ledger Entry   GRUBHUB Sales HCAA 10.23.20                   10/23/2020                  2,012.04

General Ledger Entry   WORLD PAY - OLO TENDER                        10/24/2020                   669.09

General Ledger Entry   WORLDPAY                                      10/24/2020                                7,428.61

General Ledger Entry   AMEX                                          10/24/2020                   640.45

General Ledger Entry   WORLD PAY - OLO AMEX                          10/24/2020                    40.84

General Ledger Entry   WORLD PAY - OLO TENDER                        10/25/2020                   408.70

General Ledger Entry   WORLDPAY                                      10/25/2020                                4,661.45

General Ledger Entry   AMEX                                          10/25/2020                                  390.93

Total Deposits                                                                                216,918.55     24,455.39




Checks and Charges
Name                   Memo                                         Date          Check No       Cleared    Outstanding
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Michigan Dept of Treasury                                                     09/17/2020   70501   12,772.83

General Ledger Entry       Interco CASH                                       09/28/2020     eft   27,689.55

M4 C.I.C. LLC                                                                 09/29/2020     EFT     425.00

General Ledger Entry       Unknown WORLDPAY Variance HCAA                     09/29/2020     eft        8.13

State of Michigan - MLCC                                                      09/30/2020     EFT     112.26

General Ledger Entry       Interco CASH                                       09/30/2020     eft    4,584.41

General Ledger Entry       Unknown AMEX Variance HCAA                         09/30/2020     eft        1.93

State of Michigan - MLCC                                                      10/01/2020     EFT     426.66

Imperial Beverage                                                             10/01/2020     EFT     424.00

Daniel L Jacob & Co. Inc                                                      10/01/2020     EFT     229.90

General Ledger Entry       Interco CASH                                       10/01/2020     eft     191.18

Henry A. Fox Sales Co.                                                        10/01/2020     EFT     108.00

O & W, Inc                                                                    10/01/2020     EFT     220.45

General Ledger Entry       Interco CASH                                       10/02/2020     eft    6,649.17

General Ledger Entry       Interco CASH                                       10/05/2020     eft   23,520.24

Rave Associates                                                               10/06/2020     EFT      85.00

Red Tap Solutions                                                             10/06/2020     EFT     875.00

State of Michigan - MLCC                                                      10/06/2020     EFT     421.83

State of Michigan - MLCC                                                      10/06/2020     EFT     730.51

General Ledger Entry       Unknown AMEX Variance HCAA                         10/06/2020     eft        0.97

General Ledger Entry       Interco CASH                                       10/06/2020     eft    5,335.29

General Ledger Entry       Interco CASH                                       10/07/2020     eft    4,352.25

General Ledger Entry       Interco CASH                                       10/08/2020     eft    2,809.67

Rave Associates                                                               10/08/2020     EFT     363.00

Imperial Beverage                                                             10/08/2020     EFT    1,336.30

O & W, Inc                                                                    10/08/2020     EFT     337.00

General Ledger Entry       Interco CASH                                       10/09/2020     eft    6,633.93

fintech                                                                       10/09/2020     EFT      37.32

General Ledger Entry       Unknown AMEX Variance HCAA                         10/13/2020     eft        2.74

General Ledger Entry       Unknown AMEX Variance HCAA                         10/13/2020     eft        1.05

General Ledger Entry       Unknown WORLDPAY Variance HCAA                     10/13/2020     eft     775.94

General Ledger Entry       Unknown WORLDPAY Variance HCAA                     10/13/2020     eft      34.56

General Ledger Entry       Interco CASH                                       10/13/2020     eft   43,465.54

General Ledger Entry       Mercantile Monthly Bank Charges - P10 2020 NewCo   10/14/2020     eft      92.82

General Ledger Entry       Unknown AMEX Variance HCAA                         10/14/2020     eft        7.40

State of Michigan - MLCC                                                      10/14/2020     EFT     232.05

State of Michigan - MLCC                                                      10/14/2020     EFT     519.56

OLO                                                                           10/14/2020     EFT     919.13

General Ledger Entry       Interco CASH                                       10/14/2020     eft    3,716.32

Michigan Dept of Treasury                                                     10/14/2020   70502               12,057.78

O & W, Inc                                                                    10/15/2020     EFT      85.60

Rave Associates                                                               10/15/2020     EFT     159.00

General Ledger Entry       Interco CASH                                       10/15/2020     eft    2,432.30

General Ledger Entry       WorldPay Monthly Charges - P10 2020 NewCo          10/15/2020     eft    3,505.88
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General Ledger Entry       Vantiv Monthly Charges - P10 2020 NewCo                 10/15/2020     eft       269.12

General Ledger Entry       Pos tive Solutions Support - Monthly Transaction P10 NewC 10/15/2020   eft       580.83

Imperial Beverage                                                                  10/16/2020     EFT       481.70

General Ledger Entry       Interco CASH                                            10/16/2020     eft     10,346.64

General Ledger Entry       Interco CASH                                            10/19/2020     eft     20,779.30

Rave Associates                                                                    10/20/2020     EFT       300.00

State of Michigan - MLCC                                                           10/20/2020     EFT       247.13

State of Michigan - MLCC                                                           10/20/2020     EFT       234.49

General Ledger Entry       Unknown AMEX Variance HCAA                              10/20/2020     eft          1.29

General Ledger Entry       Unknown AMEX Variance HCAA                              10/20/2020     eft          2.17

Imperial Beverage                                                                  10/20/2020     EFT       504.00

General Ledger Entry       Interco CASH                                            10/20/2020     eft      8,534.94

General Ledger Entry       Interco CASH                                            10/21/2020     eft      6,754.05

General Ledger Entry       Unknown WORLDPAY Variance HCAA                          10/21/2020     eft          3.99

Daniel L Jacob & Co. Inc                                                           10/22/2020     EFT       430.00

O & W, Inc                                                                         10/22/2020     EFT        75.15

Rave Associates                                                                    10/22/2020     EFT       669.15

General Ledger Entry       Interco CASH                                            10/22/2020     eft       909.89

General Ledger Entry       Unknown AMEX Variance HCAA                              10/22/2020     eft          4.31

Imperial Beverage                                                                  10/22/2020     EFT       293.90

General Ledger Entry       Interco CASH                                            10/23/2020     eft      8,861.58

General Ledger Entry       Unknown AMEX Variance HCAA                              10/23/2020     eft          3.25

Total Checks and Charges                                                                                216,918.55    12,057.78
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                                                                           HOPCAT-LINCOLN, LLC                    Page:            3 of 4
                                                                           35 OAKES ST SW STE 400
                                                                           GRAND RAP DS, MI 49503                 Statement Date: 10/30/2020
                                                                                                                  Primary Account: XXXXXX0830




                              CREDITS (Continued)
MGMCSTMTN 201031-16840-0003




                              Date Description                                                                                      Amount
                              10/20   American Express Settlement XXXXXX6034                                                           28.22
                              10/20   Doordash, Inc. 601 P Stre St-                                                                 1,520.82
                              10/20   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                  3,991.44
                              10/21   Postmates Inc. 1140 Oct 1 St-                                                                    61.01
                              10/21   Postmates Inc. 1140 Oct 1 St-                                                                    93.67
                              10/21   American Express Settlement XXXXXX6034                                                          120.65
                              10/21   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                            131.56
                              10/21   Doordash, Inc. 601 P Stre St-                                                                   843.47
                              10/21   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                  1,677.94
                              10/22   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                             58.23
                              10/22   Postmates Inc. 1140 Oct 2 St-                                                                   126.55
                              10/22   American Express Settlement XXXXXX6034                                                          210.17
                              10/22   Doordash, Inc. 601 P Stre St-                                                                   784.32
                              10/22   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                  2,345.69
                              10/23   American Express Settlement XXXXXX6034                                                           64.32
                              10/23   Postmates Inc. 1140 Oct 2 St-                                                                    64.66
                              10/23   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                             70.32
                              10/23   Doordash, Inc. 601 P Stre St-                                                                   683.85
                              10/23   Grubhub Inc Oct Actvty XXXXX321-2dptzv                                                          940.75
                              10/23   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                  2,396.81
                              10/26   Postmates Inc. 1140 Oct 2 St-                                                                   119.76
                              10/26   Postmates Inc. 1140 Oct 2 St-                                                                   124.42
                              10/26   Postmates Inc. 1140 Oct 2 St-                                                                   130.95
                              10/26   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                            169.30
                              10/26   American Express Settlement XXXXXX6034                                                          257.95
                              10/26   American Express Settlement XXXXXX6034                                                          268.67
                              10/26   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                            286.36
                              10/26   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                            351.66
                              10/26   American Express Settlement XXXXXX6034                                                          361.96
                              10/26   Doordash, Inc. 601 P Stre St-                                                                   461.79
                              10/26   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                  3,435.67
                              10/26   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                  6,812.86
                              10/26   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                  7,052.57
                              10/27   American Express Settlement XXXXXX6034                                                           98.81
                              10/27   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                            210.77
                              10/27   Doordash, Inc. 601 P Stre St-                                                                 1,830.58
                              10/27   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                  3,814.08
                              10/28   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                             15.31
                              10/28   Internet Transfer From Coml Analysis Ck XXXXXX4777 On 10/28/20 At 14:05                         500.00
                              10/29   Transfer From Coml Analysis Ck Account                                                           87.80
                              10/29   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                            123.62
                              10/30   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                            185.63
                              10/30   Grubhub Inc Oct Actvty XXXXX028-2dptzv                                                          557.56
                              10/30   Transfer From Coml Analysis Ck Account                                                          690.06

                              DEBITS
                              Date Description                                                                                      Amount
                              10/01   K & Z Distributi Fintecheft XX-XXX2999                                                          511.00
                              10/01   Quality Brands O Fintecheft XX-XXX2999                                                          764.00
                              10/01   Transfer To Coml Analysis Ck Account                                                          1,799.21
                              10/02   Transfer To Coml Analysis Ck Account                                                          5,385.07
                              10/05   Republic Nationa Fintecheft XX-XXX2999                                                          170.00
                              10/05   Restaurant Techn Eft Draft                                                                    1,077.55
                              10/05   Mthchgs Worldpay Merch Bankcard           Hopcat Lincoln                                      3,047.26
                              10/05   Transfer To Coml Analysis Ck Account                                                         19,621.05
                              10/06   Billng Vantiv_intg_pymt Merch Bankcard          Hopcat Lincoln - Ecomm                          140.19
                              10/06   Transfer To Coml Analysis Ck Account                                                          8,847.58
                              10/07   Transfer To Coml Analysis Ck Account                                                          1,968.63
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                                              BarFly Ventures
                                            Reconciliation Report
                                                           As Of 10/25/2020
                                        Account: HC Lincoln Merc Checking Account
Statement Ending Balance                                                                                                       0.00

Deposits in Transit                                                                                                       23,884.04

Outstanding Checks and Charges                                                                                                 0.00

Adjusted Bank Balance                                                                                                     23,884.04



Book Balance                                                                                                              23,884.04

Adjustments*                                                                                                                   0.00

Adjusted Book Balance                                                                                                     23,884.04




                           Total Checks and Charges Cleared                        171,716.03 Total Deposits Cleared     171,716.03




Deposits
Name                       Memo                                                   Date            Doc No      Cleared     In Transit

General Ledger Entry       HCLN RETURNED ITEM, UNCOLLECTED FUNDS, ACCIDENT FUND   06/10/2020                                  80.00

General Ledger Entry       AMEX                                                   08/13/2020                                 140.14

General Ledger Entry       AMEX                                                   08/20/2020                     83.34

General Ledger Entry       AMEX                                                   08/28/2020                    267.07

General Ledger Entry       AMEX                                                   09/02/2020                    110.99

General Ledger Entry       AMEX                                                   09/05/2020                    491.95

General Ledger Entry       AMEX                                                   09/07/2020                    142.79

General Ledger Entry       AMEX                                                   09/08/2020                                 261.44

General Ledger Entry       WORLD PAY - OLO TENDER                                 09/10/2020                    139.65

General Ledger Entry       AMEX                                                   09/11/2020                    188.04

General Ledger Entry       AMEX                                                   09/12/2020                    181.82

General Ledger Entry       AMEX                                                   09/22/2020                                  30.70

General Ledger Entry       WORLD PAY - OLO TENDER                                 09/24/2020                    257.67

General Ledger Entry       WORLDPAY                                               09/24/2020                  4,452.77

General Ledger Entry       WORLDPAY                                               09/25/2020                  7,404.66

General Ledger Entry       WORLD PAY - OLO TENDER                                 09/25/2020                     81.95

General Ledger Entry       WORLDPAY                                               09/26/2020                 10,535.46

General Ledger Entry       WORLDPAY                                               09/27/2020                  4,771.14

General Ledger Entry       Postmates Sales HCLN 09.28.20                          09/28/2020                    127.14

General Ledger Entry       WORLD PAY - OLO TENDER                                 09/28/2020                    145.50

General Ledger Entry       WORLDPAY                                               09/28/2020                  2,605.61

General Ledger Entry       AMEX                                                   09/28/2020                                 197.84

General Ledger Entry       Postmates Sales HCLN 09.28.20                          09/28/2020                    156.36
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General Ledger Entry   DoorDash Sales HCLN 09.28.20                  09/28/2020           514.72

General Ledger Entry   Postmates Sales HCLN 09.28.20                 09/28/2020            81.88

General Ledger Entry   Unknown WORLDPAY Variance HCLN                09/29/2020   eft        3.12

General Ledger Entry   AMEX                                          09/29/2020            54.59

General Ledger Entry   DoorDash Sales HCLN 09.29.20                  09/29/2020          1,043.79

General Ledger Entry   Postmates Sales HCLN 09.29.20                 09/29/2020           151.19

General Ledger Entry   WORLD PAY - OLO TENDER                        09/29/2020           172.06

General Ledger Entry   WORLDPAY                                      09/29/2020          2,283.41

General Ledger Entry   Unknown WORLDPAY Variance HCLN                09/30/2020   eft      17.70

General Ledger Entry   WORLDPAY                                      09/30/2020          2,673.73

General Ledger Entry   Postmates Sales HCLN 09.30.20                 09/30/2020            85.19

General Ledger Entry   DoorDash Sales HCLN 09.30.20                  09/30/2020           609.47

General Ledger Entry   WORLD PAY - OLO TENDER                        09/30/2020           262.83

General Ledger Entry   AMEX                                          09/30/2020                     156.55

General Ledger Entry   WORLDPAY                                      10/01/2020          3,291.28

General Ledger Entry   WORLD PAY - OLO TENDER                        10/01/2020           166.42

General Ledger Entry   Postmates Sales HCLN 10.01.20                 10/01/2020           118.83

General Ledger Entry   DoorDash Sales HCLN 10.01.20                  10/01/2020           447.05

General Ledger Entry   Postmates Sales HCLN 10.02.20                 10/02/2020           149.24

General Ledger Entry   Johnson Brothers 173042 HCLN                  10/02/2020           690.00

General Ledger Entry   AMEX                                          10/02/2020           155.46

General Ledger Entry   WORLDPAY                                      10/02/2020          6,304.26

General Ledger Entry   WORLD PAY - OLO TENDER                        10/02/2020           393.89

General Ledger Entry   DoorDash Sales HCLN 10.02.20                  10/02/2020           833.06

General Ledger Entry   GRUBHUB Sales HCLN 10.02.20                   10/02/2020           532.24

General Ledger Entry   GRUBHUB Sales HCLN 10.02.20                   10/02/2020            92.75

General Ledger Entry   Unknown AMEX Variance HCLN                    10/03/2020   eft        3.05

General Ledger Entry   WORLDPAY                                      10/03/2020         11,557.40

General Ledger Entry   WORLD PAY - OLO TENDER                        10/03/2020           254.73

General Ledger Entry   AMEX                                          10/03/2020           614.59

General Ledger Entry   Unknown AMEX Variance HCLN                    10/04/2020   eft        2.12

General Ledger Entry   WORLD PAY - OLO TENDER                        10/04/2020            40.76

General Ledger Entry   WORLDPAY                                      10/04/2020          7,076.80

General Ledger Entry   AMEX                                          10/04/2020           142.25

General Ledger Entry   WORLD PAY - OLO AMEX                          10/04/2020            47.87

General Ledger Entry   Postmates Sales HCLN 10.05.20                 10/05/2020           232.36

General Ledger Entry   Postmates Sales HCLN 10.05.20                 10/05/2020           262.79

General Ledger Entry   WORLD PAY - OLO TENDER                        10/05/2020            17.62

General Ledger Entry   AMEX                                          10/05/2020            15.67

General Ledger Entry   WORLDPAY                                      10/05/2020          1,488.14

General Ledger Entry   DoorDash Sales HCLN 10.05.20                  10/05/2020           543.72

General Ledger Entry   Postmates Sales HCLN 10.05.20                 10/05/2020           163.23

General Ledger Entry   Unknown AMEX Variance HCLN                    10/06/2020   eft        2.32

General Ledger Entry   Postmates Sales HCLN 10.06.20                 10/06/2020           179.62
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General Ledger Entry   DoorDash Sales HCLN 10.06.20                  10/06/2020          1,506.45

General Ledger Entry   AMEX                                          10/06/2020           117.80

General Ledger Entry   WORLD PAY - OLO TENDER                        10/06/2020            20.56

General Ledger Entry   WORLDPAY                                      10/06/2020          2,152.51

General Ledger Entry   Postmates Sales HCLN 10.07.20                 10/07/2020            83.80

General Ledger Entry   DoorDash Sales HCLN 10.07.20                  10/07/2020           363.97

General Ledger Entry   WORLDPAY                                      10/07/2020          2,868.14

General Ledger Entry   AMEX                                          10/07/2020            73.02

General Ledger Entry   WORLD PAY - OLO TENDER                        10/07/2020           140.10

General Ledger Entry   WORLDPAY                                      10/08/2020          3,713.83

General Ledger Entry   WORLD PAY - OLO TENDER                        10/08/2020           160.54

General Ledger Entry   Postmates Sales HCLN 10.08.20                 10/08/2020            72.62

General Ledger Entry   AMEX                                          10/08/2020           123.13

General Ledger Entry   DoorDash Sales HCLN 10.08.20                  10/08/2020           913.15

General Ledger Entry   WORLD PAY - OLO TENDER                        10/09/2020            74.22

General Ledger Entry   WORLDPAY                                      10/09/2020          8,531.95

General Ledger Entry   DoorDash Sales HCLN 10.09.20                  10/09/2020          1,112.75

General Ledger Entry   Postmates Sales HCLN 10.09.20                 10/09/2020            88.71

General Ledger Entry   GRUBHUB Sales HCLN 10.09.20                   10/09/2020           400.97

General Ledger Entry   AMEX                                          10/09/2020                     309.67

General Ledger Entry   AMEX                                          10/10/2020                     250.69

General Ledger Entry   WORLDPAY                                      10/10/2020         11,296.89

General Ledger Entry   WORLD PAY - OLO TENDER                        10/10/2020           439.96

General Ledger Entry   AMEX                                          10/11/2020           380.60

General Ledger Entry   WORLD PAY - OLO TENDER                        10/11/2020           204.03

General Ledger Entry   WORLDPAY                                      10/11/2020          5,546.70

General Ledger Entry   WORLDPAY                                      10/12/2020          2,591.57

General Ledger Entry   WORLD PAY - OLO TENDER                        10/12/2020              7.06

General Ledger Entry   AMEX                                          10/12/2020           116.94

General Ledger Entry   Unknown AMEX Variance HCLN                    10/13/2020   eft        1.28

General Ledger Entry   Unknown AMEX Variance HCLN                    10/13/2020   eft        1.56

General Ledger Entry   Unknown AMEX Variance HCLN                    10/13/2020   eft        1.62

General Ledger Entry   DoorDash Sales HCLN 10.13.20                  10/13/2020           573.74

General Ledger Entry   AMEX                                          10/13/2020            43.93

General Ledger Entry   WORLDPAY                                      10/13/2020          2,671.75

General Ledger Entry   WORLD PAY - OLO TENDER                        10/13/2020           248.45

General Ledger Entry   DoorDash Sales HCLN 10.13.20                  10/13/2020          1,816.56

General Ledger Entry   Unknown AMEX Variance HCLN                    10/14/2020   eft        2.71

General Ledger Entry   DoorDash Sales HCLN 10.14.20                  10/14/2020           876.02

General Ledger Entry   WORLD PAY - OLO TENDER                        10/14/2020            98.37

General Ledger Entry   WORLDPAY                                      10/14/2020          2,669.14

General Ledger Entry   Republ c 4235078 HCLN                         10/14/2020            90.00

General Ledger Entry   AMEX                                          10/14/2020                     147.76

General Ledger Entry   WORLDPAY                                      10/15/2020          3,521.15
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General Ledger Entry   WORLD PAY - OLO TENDER                        10/15/2020          244.79

General Ledger Entry   AMEX                                          10/15/2020                      92.24

General Ledger Entry   Postmates Sales HCLN 10.15.20                 10/15/2020          167.59

General Ledger Entry   DoorDash Sales HCLN 10.15.20                  10/15/2020          842.47

General Ledger Entry   Postmates Sales HCLN 10.15.20                 10/15/2020          108.72

General Ledger Entry   Postmates Sales HCLN 10.15.20                 10/15/2020          221.85

General Ledger Entry   Postmates Sales HCLN 10.15.20                 10/15/2020           32.44

General Ledger Entry   Postmates Sales HCLN 10.15.20                 10/15/2020          135.03

General Ledger Entry   Unknown AMEX Variance HCLN                    10/16/2020   eft       0.52

General Ledger Entry   Postmates Sales HCLN 10.16.20                 10/16/2020           47.32

General Ledger Entry   GRUBHUB Sales HCLN 10.16.20                   10/16/2020          482.90

General Ledger Entry   DoorDash Sales HCLN 10.16.20                  10/16/2020          837.88

General Ledger Entry   WORLDPAY                                      10/16/2020         7,858.23

General Ledger Entry   WORLD PAY - OLO TENDER                        10/16/2020          200.57

General Ledger Entry   AMEX                                          10/16/2020          366.90

General Ledger Entry   WORLDPAY                                      10/17/2020         9,898.75

General Ledger Entry   AMEX                                          10/17/2020          149.10

General Ledger Entry   WORLD PAY - OLO TENDER                        10/17/2020          457.86

General Ledger Entry   WORLDPAY                                      10/18/2020         3,991.44

General Ledger Entry   AMEX                                          10/18/2020           29.07

General Ledger Entry   WORLD PAY - OLO TENDER                        10/18/2020           14.22

General Ledger Entry   Unknown AMEX Variance HCLN                    10/19/2020   eft       5.70

General Ledger Entry   Unknown AMEX Variance HCLN                    10/19/2020   eft       1.41

General Ledger Entry   Unknown AMEX Variance HCLN                    10/19/2020   eft       2.98

General Ledger Entry   Postmates Sales HCLN 10.19.20                 10/19/2020          192.32

General Ledger Entry   Postmates Sales HCLN 10.19.20                 10/19/2020          174.65

General Ledger Entry   Postmates Sales HCLN 10.19.20                 10/19/2020           37.80

General Ledger Entry   WORLDPAY                                      10/19/2020         1,677.94

General Ledger Entry   WORLD PAY - OLO TENDER                        10/19/2020          131.56

General Ledger Entry   AMEX                                          10/19/2020          124.02

General Ledger Entry   DoorDash Sales HCLN 10.19.20                  10/19/2020          425.36

General Ledger Entry   AMEX                                          10/20/2020          217.56

General Ledger Entry   WORLDPAY                                      10/20/2020         2,345.69

General Ledger Entry   WORLD PAY - OLO TENDER                        10/20/2020           58.23

General Ledger Entry   DoorDash Sales HCLN 10.20.20                  10/20/2020         1,520.82

General Ledger Entry   Postmates Sales HCLN 10.21.20                 10/21/2020           61.01

General Ledger Entry   WORLD PAY - OLO TENDER                        10/21/2020           70.32

General Ledger Entry   AMEX                                          10/21/2020           66.61

General Ledger Entry   Postmates Sales HCLN 10.21.20                 10/21/2020           93.67

General Ledger Entry   DoorDash Sales HCLN 10.21.20                  10/21/2020          843.47

General Ledger Entry   WORLDPAY                                      10/21/2020         2,396.81

General Ledger Entry   AMEX                                          10/22/2020                     277.55

General Ledger Entry   WORLD PAY - OLO TENDER                        10/22/2020          351.66

General Ledger Entry   WORLDPAY                                      10/22/2020                    3,435.67
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General Ledger Entry             Postmates Sales HCLN 10.22.20                 10/22/2020                   126.55

General Ledger Entry             DoorDash Sales HCLN 10.22.20                  10/22/2020                   784.32

General Ledger Entry             AMEX                                          10/23/2020                                  266.46

General Ledger Entry             WORLDPAY                                      10/23/2020                                7,052.57

General Ledger Entry             WORLD PAY - OLO TENDER                        10/23/2020                                  169.30

General Ledger Entry             DoorDash Sales HCLN 10.23.20                  10/23/2020                   683.85

General Ledger Entry             GRUBHUB Sales HCLN 10.23.20                   10/23/2020                   940.75

General Ledger Entry             Postmates Sales HCLN 10.23.20                 10/23/2020                    64.66

General Ledger Entry             AMEX                                          10/24/2020                   374.50

General Ledger Entry             WORLDPAY                                      10/24/2020                                6,812.86

General Ledger Entry             WORLD PAY - OLO TENDER                        10/24/2020                                  286.36

General Ledger Entry             WORLD PAY - OLO TENDER                        10/25/2020                   218.80

General Ledger Entry             WORLDPAY                                      10/25/2020                                3,814.08

General Ledger Entry             AMEX                                          10/25/2020                                  102.16

Total Deposits                                                                                          171,716.03     23,884.04




Checks and Charges
Name                             Memo                                         Date          Check No       Cleared    Outstanding

General Ledger Entry             Interco CASH                                  09/28/2020         eft     24,777.25

General Ledger Entry             Unknown AMEX Variance HCLN                    09/29/2020         eft          4.05

General Ledger Entry             Unknown AMEX Variance HCLN                    09/29/2020         eft        13.53

General Ledger Entry             Unknown AMEX Variance HCLN                    09/29/2020         eft          2.58

General Ledger Entry             Interco CASH                                  09/29/2020         eft      3,323.47

Republic National Dist                                                         09/30/2020        EFT        187.50

Sterling/Glaziers Distributing                                                 09/30/2020        EFT       1,054.25

General Ledger Entry             Interco CASH                                  09/30/2020         eft      2,395.11

Quality Brands of Lincoln LLC                                                  10/01/2020        EFT        764.00

K&Z Distributing Co.                                                           10/01/2020        EFT        511.00

General Ledger Entry             Interco CASH                                  10/01/2020         eft      1,799.21

General Ledger Entry             Unknown AMEX Variance HCLN                    10/01/2020         eft          1.73

General Ledger Entry             Interco CASH                                  10/02/2020         eft      5,385.07

General Ledger Entry             Interco CASH                                  10/05/2020         eft     19,621.05

Republic National Dist                                                         10/05/2020        EFT        170.00

General Ledger Entry             Unknown AMEX Variance HCLN                    10/05/2020         eft          8.46

Restaurant Technologies, Inc                                                   10/05/2020        EFT       1,077.55

General Ledger Entry             Interco CASH                                  10/06/2020         eft      8,847.58

General Ledger Entry             Interco CASH                                  10/07/2020         eft      1,968.63

General Ledger Entry             Unknown AMEX Variance HCLN                    10/08/2020         eft          2.99

General Ledger Entry             Unknown AMEX Variance HCLN                    10/08/2020         eft          0.57

K&Z Distributing Co.                                                           10/08/2020        EFT        265.80

General Ledger Entry             Interco CASH                                  10/08/2020         eft      3,006.99

General Ledger Entry             Interco CASH                                  10/09/2020         eft      4,117.96

fintech                                                                        10/09/2020        EFT         37.32

State Distributing                                                             10/09/2020        EFT        150.00
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Quality Brands of Lincoln LLC                                                                 10/09/2020   EFT       376.00

General Ledger Entry             Unknown AMEX Variance HCLN                                   10/09/2020   eft          2.41

General Ledger Entry             Interco CASH                                                 10/13/2020   eft     33,387.40

General Ledger Entry             1140 Sales & Use Tax Payment                                 10/13/2020            2,998.23

OLO                                                                                           10/14/2020   EFT       452.62

General Ledger Entry             Mercantile Monthly Bank Charges - P10 2020 NewCo             10/14/2020   eft        93.40

General Ledger Entry             Interco CASH                                                 10/14/2020   eft      3,225.73

General Ledger Entry             Interco CASH                                                 10/15/2020   eft      4,377.40

General Ledger Entry             WorldPay Monthly Charges - P10 2020 NewCo                    10/15/2020   eft      3,047.26

General Ledger Entry             Vantiv Monthly Charges - P10 2020 NewCo                      10/15/2020   eft       140.19

General Ledger Entry             Unknown AMEX Variance HCLN                                   10/15/2020   eft          1.43

General Ledger Entry             Positive Solutions Support - Monthly Transact on P10 NewCo   10/15/2020   eft       191.66

Quality Brands of Lincoln LLC                                                                 10/16/2020   EFT      1,466.00

State Distributing                                                                            10/16/2020   EFT       210.00

General Ledger Entry             Interco CASH                                                 10/16/2020   eft      2,602.38

K&Z Distributing Co.                                                                          10/19/2020   EFT       428.95

General Ledger Entry             Interco CASH                                                 10/19/2020   eft     11,303.91

General Ledger Entry             1140 Sales & Use Tax Payment                                 10/19/2020           11,866.50

General Ledger Entry             Interco CASH                                                 10/20/2020   eft      5,554.70

General Ledger Entry             Unknown AMEX Variance HCLN                                   10/20/2020   eft          0.85

Republic National Dist                                                                        10/21/2020   EFT        92.81

Sterling/Glaziers Distributing                                                                10/21/2020   EFT       386.67

General Ledger Entry             Unknown AMEX Variance HCLN                                   10/21/2020   eft          3.37

General Ledger Entry             Interco CASH                                                 10/21/2020   eft      2,257.16

General Ledger Entry             Interco CASH                                                 10/22/2020   eft      3,372.96

General Ledger Entry             Unknown AMEX Variance HCLN                                   10/22/2020   eft          7.39

Quality Brands of Lincoln LLC                                                                 10/22/2020   EFT       152.00

General Ledger Entry             Unknown AMEX Variance HCLN                                   10/23/2020   eft          2.29

General Ledger Entry             Interco CASH                                                 10/23/2020   eft      4,220.71

Total Checks and Charges                                                                                         171,716.03    0.00
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                                                                           HOPCAT - KALAMAZOO, LLC            Page:            4 of 4
                                                                           35 OAKES ST SW STE 400
                                                                           GRAND RAP DS, MI 49503             Statement Date: 10/30/2020
                                                                                                              Primary Account: XXXXXX9227




                              DEBITS (Continued)
MGMCSTMTN 201031-17497-0004




                              Date Description                                                                                  Amount
                              10/06   Imperial Beverag Fintecheft XX-XXX8992                                                      115.00
                              10/06   West Side Beer D Fintecheft XX-XXX8992                                                      154.00
                              10/06   I.h.s. Dist. Co. Fintecheft XX-XXX8992                                                      190.00
                              10/06   State Of Michnws Liquorsale #xxxxx5237                                                      688.09
                              10/06   Transfer To Coml Analysis Ck Account                                                      6,328.62
                              10/07   Transfer To Coml Analysis Ck Account                                                      6,134.54
                              10/08   M4 C.i.c, Llc Fintecheft XX-XXX8992                                                         170.00
                              10/08   West Side Beer D Fintecheft XX-XXX8992                                                      209.00
                              10/08   Imperial Beverag Fintecheft XX-XXX8992                                                    1,479.75
                              10/08   Transfer To Coml Analysis Ck Account                                                      5,050.68
                              10/09   Fintech.net Fintecheft XX-XXX8992                                                            37.32
                              10/09   Henry A. Fox Sal Fintecheft XX-XXX8992                                                      188.00
                              10/09   State Of Michgwl Liquorsale #xxxxx3599                                                      230.77
                              10/09   Transfer To Coml Analysis Ck Account                                                      3,237.09
                              10/13   Alliance Beverag Fintecheft XX-XXX8992                                                      403.00
                              10/13   Red Tap Draught Sale                                                                        875.00
                              10/13   Transfer To Coml Analysis Ck Account                                                     45,962.37
                              10/14   I.h.s. Dist. Co. Fintecheft XX-XXX8992                                                       90.00
                              10/14   State Of Michnws Liquorsale #xxxxx0452                                                      365.26
                              10/14   Olo - Help@olo.c Purchase Denise Willison                                                   711.58
                              10/14   Transfer To Coml Analysis Ck Account                                                     10,715.12
                              10/15   Commercial Service Charge                                                                    43.72
                              10/15   West Side Beer D Fintecheft XX-XXX8992                                                      119.00
                              10/15   Transfer To Coml Analysis Ck Account                                                      6,992.18
                              10/16   Henry A. Fox Sal Fintecheft XX-XXX8992                                                      109.00
                              10/16   Imperial Beverag Fintecheft XX-XXX8992                                                      884.30
                              10/16   Transfer To Coml Analysis Ck Account                                                      8,540.39
                              10/19   Alliance Beverag Fintecheft XX-XXX8992                                                      906.00
                              10/19   Transfer To Coml Analysis Ck Account                                                     32,817.99
                              10/20   Imperial Beverag Fintecheft XX-XXX8992                                                      155.00
                              10/20   I.h.s. Dist. Co. Fintecheft XX-XXX8992                                                      180.00
                              10/20   State Of Michnws Liquorsale #xxxxx3951                                                      413.34
                              10/20   Transfer To Coml Analysis Ck Account                                                      7,703.44
                              10/21   Positive Solutio Support                                                                    573.50
                              10/21   Transfer To Coml Analysis Ck Account                                                      5,907.81
                              10/22   West Side Beer D Fintecheft XX-XXX8992                                                      239.00
                              10/22   State Of Michgwl Liquorsale #xxxxx9849                                                      304.26
                              10/22   Imperial Beverag Fintecheft XX-XXX8992                                                      512.60
                              10/22   Transfer To Coml Analysis Ck Account                                                      4,376.48
                              10/23   Transfer To Coml Analysis Ck Account                                                      3,776.61
                              10/26   Comb. Exc. Worldpay Worldpay Comb. Exc.                        Hop                           68.51
                              10/26   Alliance Beverag Fintecheft XX-XXX8992                                                      387.00
                              10/26   Transfer To Coml Analysis Ck Account                                                     28,346.79
                              10/27   I.h.s. Dist. Co. Fintecheft XX-XXX8992                                                      120.00
                              10/27   State Of Michnws Liquorsale #xxxxx7146                                                      347.35
                              10/28   Transfer To Coml Analysis Ck Account                                                        427.55
                              10/29   Imperial Beverag Fintecheft XX-XXX8992                                                    1,032.25
                              10/30   Transfer To Coml Analysis Ck Account                                                      1,881.94

                              DAILY BALANCE
                                Date                  Balance             Date                  Balance    Date            Balance
                                 10/01                                   10/05                             10/07
                                 10/02                                   10/06                             10/08
                                 10/09                                   10/19                             10/26
                                 10/13                                   10/20                             10/27
                                 10/14                                   10/21                             10/28
                                 10/15                                   10/22                             10/29
                                 10/16                                   10/23                             10/30
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                                          BarFly Ventures
                                        Reconciliation Report
                                                     As Of 10/25/2020
                                   Account: HC Kalamazoo Merc Checking Account
Statement Ending Balance                                                                                             0.00

Deposits in Transit                                                                                             41,378.88

Outstanding Checks and Charges                                                                                 -15,486.31

Adjusted Bank Balance                                                                                           25,892.57



Book Balance                                                                                                    25,892.57

Adjustments*                                                                                                         0.00

Adjusted Book Balance                                                                                           25,892.57




                            Total Checks and Charges Cleared             265,445.53 Total Deposits Cleared     265,445.53




Deposits
Name                        Memo                                        Date            Doc No      Cleared     In Transit

General Ledger Entry        AMEX                                        08/13/2020                                 515.91

General Ledger Entry        GFS          HCKZ                           08/14/2020                                  11.75

General Ledger Entry        AMEX                                        08/23/2020                   589.16

General Ledger Entry        AMEX                                        08/25/2020                   593.94

General Ledger Entry        AMEX                                        08/27/2020                   452.11

General Ledger Entry        CASH DEPOSIT HCKZ                           09/02/2020                                 739.37

General Ledger Entry        AMEX                                        09/06/2020                                 575.38

General Ledger Entry        AMEX                                        09/07/2020                   490.67

General Ledger Entry        AMEX                                        09/08/2020                   462.91

General Ledger Entry        AMEX                                        09/12/2020                   864.97

General Ledger Entry        AMEX                                        09/13/2020                                 514.21

General Ledger Entry        CASH DEPOSIT HCKZ                           09/16/2020                                 572.00

General Ledger Entry        AMEX                                        09/18/2020                   826.28

General Ledger Entry        WORLD PAY - OLO TENDER                      09/24/2020                                 539.27

General Ledger Entry        WORLDPAY                                    09/25/2020                 10,132.84

General Ledger Entry        WORLDPAY                                    09/26/2020                 12,349.67

General Ledger Entry        WORLDPAY                                    09/27/2020                  8,176.99

General Ledger Entry        Postmates Sales HCKZ 09.28.20               09/28/2020                    78.58

General Ledger Entry        Postmates Sales HCKZ 09.28.20               09/28/2020                   116.11

General Ledger Entry        DoorDash Sales HCKZ 09.28.20                09/28/2020                   815.80

General Ledger Entry        Postmates Sales HCKZ 09.28.20               09/28/2020                    92.50

General Ledger Entry        WORLDPAY                                    09/28/2020                  4,833.51

General Ledger Entry        WORLD PAY - OLO TENDER                      09/28/2020                   251.21
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General Ledger Entry     AMEX                                     09/28/2020            346.07

General Ledger Entry     Unknown WORLDPAY Variance HCKZ           09/29/2020    eft        3.10

General Ledger Entry     Unknown AMEX Variance HCKZ               09/29/2020    eft        9.73

General Ledger Entry     Interco CASH                             09/29/2020    eft    6,197.82

General Ledger Entry     Unknown AMEX Variance HCKZ               09/29/2020    eft        9.55

General Ledger Entry     Unknown WORLDPAY Variance HCKZ           09/29/2020    eft        5.22

General Ledger Entry     DoorDash Sales HCKZ 09.29.20             09/29/2020           1,739.39

General Ledger Entry     WORLD PAY - OLO AMEX                     09/29/2020             45.85

General Ledger Entry     WORLD PAY - OLO TENDER                   09/29/2020            219.55

General Ledger Entry     WORLDPAY                                 09/29/2020           5,584.12

General Ledger Entry     AMEX                                     09/29/2020            145.62

General Ledger Entry     Postmates Sales HCKZ 09.29.20            09/29/2020             87.15

General Ledger Entry     Unknown WORLDPAY Variance HCKZ           09/30/2020    eft      12.86

General Ledger Entry     Unknown WORLDPAY Variance HCKZ           09/30/2020    eft        6.41

General Ledger Entry     WORLD PAY - OLO TENDER                   09/30/2020            262.53

General Ledger Entry     DoorDash Sales HCKZ 09.30.20             09/30/2020           1,117.73

General Ledger Entry     Postmates Sales HCKZ 09.30.20            09/30/2020             29.80

General Ledger Entry     WORLDPAY                                 09/30/2020           4,974.81

General Ledger Entry     AMEX                                     09/30/2020                      471.49

General Ledger Entry     Unknown AMEX Variance HCKZ               10/01/2020    eft      20.79

General Ledger Entry     WORLDPAY                                 10/01/2020           5,976.70

General Ledger Entry     Postmates Sales HCKZ 10.01.20            10/01/2020             47.00

General Ledger Entry     WORLD PAY - OLO TENDER                   10/01/2020            314.26

General Ledger Entry     AMEX                                     10/01/2020            295.20

General Ledger Entry     DoorDash Sales HCKZ 10.01.20             10/01/2020           1,277.85

General Ledger Entry     Unknown AMEX Variance HCKZ               10/02/2020    eft        3.17

General Ledger Entry     Unknown WORLDPAY Variance HCKZ           10/02/2020    eft        2.87

General Ledger Entry     GRUBHUB Sales HCKZ 10.02.20              10/02/2020            493.85

General Ledger Entry     WORLD PAY - OLO TENDER                   10/02/2020            474.10

General Ledger Entry     WORLDPAY                                 10/02/2020           9,238.60

General Ledger Entry     AMEX                                     10/02/2020            517.45

General Ledger Entry     GRUBHUB Sales HCKZ 10.02.20              10/02/2020           1,109.75

General Ledger Entry     DoorDash Sales HCKZ 10.02.20             10/02/2020           1,622.59

General Ledger Entry     Postmates Sales HCKZ 10.02.20            10/02/2020             29.05

General Ledger Entry     WORLD PAY - OLO TENDER                   10/03/2020            844.41

General Ledger Entry     WORLDPAY                                 10/03/2020          12,858.38

General Ledger Entry     AMEX                                     10/03/2020                      538.69

General Ledger Entry     AMEX                                     10/04/2020            342.66

General Ledger Entry     WORLD PAY - OLO TENDER                   10/04/2020            398.45

General Ledger Entry     WORLDPAY                                 10/04/2020           8,744.77

General Ledger Entry     Unknown WORLDPAY Variance HCKZ           10/05/2020    eft        4.49

General Ledger Entry     Unknown AMEX Variance HCKZ               10/05/2020    eft      12.72

General Ledger Entry     Unknown AMEX Variance HCKZ               10/05/2020    eft      24.11

General Ledger Entry     DoorDash Sales HCKZ 10.05.20             10/05/2020            955.53
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General Ledger Entry     Postmates Sales HCKZ 10.05.20            10/05/2020            131.23

General Ledger Entry     Postmates Sales HCKZ 10.05.20            10/05/2020             88.47

General Ledger Entry     WORLDPAY                                 10/05/2020           3,719.58

General Ledger Entry     Postmates Sales HCKZ 10.05.20            10/05/2020             36.78

General Ledger Entry     WORLD PAY - OLO TENDER                   10/05/2020            272.41

General Ledger Entry     AMEX                                     10/05/2020            390.17

General Ledger Entry     WORLDPAY                                 10/06/2020           4,581.46

General Ledger Entry     WORLD PAY - OLO TENDER                   10/06/2020            120.18

General Ledger Entry     WORLD PAY - OLO AMEX                     10/06/2020            111.65

General Ledger Entry     Postmates Sales HCKZ 10.06.20            10/06/2020             67.16

General Ledger Entry     DoorDash Sales HCKZ 10.06.20             10/06/2020           2,512.76

General Ledger Entry     AMEX                                     10/06/2020            253.49

General Ledger Entry     Unknown WORLDPAY Variance HCKZ           10/07/2020    eft        0.91

General Ledger Entry     Unknown AMEX Variance HCKZ               10/07/2020    eft        5.48

General Ledger Entry     WORLD PAY - OLO AMEX                     10/07/2020                       49.56

General Ledger Entry     WORLDPAY                                 10/07/2020           5,334.09

General Ledger Entry     WORLD PAY - OLO TENDER                   10/07/2020            320.76

General Ledger Entry     AMEX                                     10/07/2020            237.83

General Ledger Entry     Postmates Sales HCKZ 10.07.20            10/07/2020             57.18

General Ledger Entry     DoorDash Sales HCKZ 10.07.20             10/07/2020            785.82

General Ledger Entry     WORLD PAY - OLO TENDER                   10/08/2020            306.16

General Ledger Entry     AMEX                                     10/08/2020            224.30

General Ledger Entry     DoorDash Sales HCKZ 10.08.20             10/08/2020           1,000.51

General Ledger Entry     WORLDPAY                                 10/08/2020           5,916.14

General Ledger Entry     Unknown AMEX Variance HCKZ               10/09/2020    eft        5.26

General Ledger Entry     AMEX                                     10/09/2020           1,080.79

General Ledger Entry     WORLD PAY - OLO TENDER                   10/09/2020            691.24

General Ledger Entry     WORLDPAY                                 10/09/2020          10,418.99

General Ledger Entry     DoorDash Sales HCKZ 10.09.20             10/09/2020           1,301.14

General Ledger Entry     Postmates Sales HCKZ 10.09.20            10/09/2020             88.10

General Ledger Entry     GRUBHUB Sales HCKZ 10.09.20              10/09/2020           1,842.55

General Ledger Entry     WORLDPAY                                 10/10/2020          12,979.21

General Ledger Entry     AMEX                                     10/10/2020            843.77

General Ledger Entry     WORLD PAY - OLO TENDER                   10/10/2020            584.39

General Ledger Entry     WORLD PAY - OLO TENDER                   10/11/2020            420.24

General Ledger Entry     WORLDPAY                                 10/11/2020           9,836.60

General Ledger Entry     AMEX                                     10/11/2020            624.67

General Ledger Entry     WORLD PAY - OLO TENDER                   10/12/2020            340.02

General Ledger Entry     AMEX                                     10/12/2020            115.93

General Ledger Entry     WORLDPAY                                 10/12/2020           5,399.30

General Ledger Entry     Unknown WORLDPAY Variance HCKZ           10/13/2020    eft      15.77

General Ledger Entry     Unknown AMEX Variance HCKZ               10/13/2020    eft      15.65

General Ledger Entry     DoorDash Sales HCKZ 10.13.20             10/13/2020            778.19

General Ledger Entry     AMEX                                     10/13/2020                      510.05
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General Ledger Entry     WORLDPAY                                 10/13/2020           5,177.37

General Ledger Entry     WORLD PAY - OLO TENDER                   10/13/2020            202.06

General Ledger Entry     DoorDash Sales HCKZ 10.13.20             10/13/2020           2,684.56

General Ledger Entry     WORLDPAY                                 10/14/2020           4,731.73

General Ledger Entry     WORLD PAY - OLO TENDER                   10/14/2020            391.79

General Ledger Entry     AMEX                                     10/14/2020            308.25

General Ledger Entry     DoorDash Sales HCKZ 10.14.20             10/14/2020            793.91

General Ledger Entry     AMEX                                     10/15/2020                      401.53

General Ledger Entry     Postmates Sales HCKZ 10.15.20            10/15/2020             91.44

General Ledger Entry     Postmates Sales HCKZ 10.15.20            10/15/2020             39.56

General Ledger Entry     DoorDash Sales HCKZ 10.15.20             10/15/2020           1,277.73

General Ledger Entry     Postmates Sales HCKZ 10.15.20            10/15/2020            107.63

General Ledger Entry     Postmates Sales HCKZ 10.15.20            10/15/2020             34.85

General Ledger Entry     Postmates Sales HCKZ 10.15.20            10/15/2020             72.92

General Ledger Entry     WORLD PAY - OLO TENDER                   10/15/2020            801.91

General Ledger Entry     WORLD PAY - OLO AMEX                     10/15/2020            195.08

General Ledger Entry     WORLDPAY                                 10/15/2020           6,168.20

General Ledger Entry     Unknown AMEX Variance HCKZ               10/16/2020    eft        3.00

General Ledger Entry     WORLD PAY - OLO AMEX                     10/16/2020                       42.40

General Ledger Entry     DoorDash Sales HCKZ 10.16.20             10/16/2020           1,273.27

General Ledger Entry     AMEX                                     10/16/2020            116.91

General Ledger Entry     WORLD PAY - OLO TENDER                   10/16/2020            616.92

General Ledger Entry     WORLDPAY                                 10/16/2020           8,541.71

General Ledger Entry     Postmates Sales HCKZ 10.16.20            10/16/2020             91.95

General Ledger Entry     GRUBHUB Sales HCKZ 10.16.20              10/16/2020           1,500.01

General Ledger Entry     AMEX                                     10/17/2020            685.55

General Ledger Entry     WORLD PAY - OLO TENDER                   10/17/2020            490.71

General Ledger Entry     WORLDPAY                                 10/17/2020          13,308.48

General Ledger Entry     WORLDPAY                                 10/18/2020           7,785.17

General Ledger Entry     WORLD PAY - OLO TENDER                   10/18/2020            399.88

General Ledger Entry     AMEX                                     10/18/2020                      535.16

General Ledger Entry     Unknown AMEX Variance HCKZ               10/19/2020    eft        1.40

General Ledger Entry     Unknown AMEX Variance HCKZ               10/19/2020    eft        0.41

General Ledger Entry     Postmates Sales HCKZ 10.19.20            10/19/2020             52.28

General Ledger Entry     DoorDash Sales HCKZ 10.19.20             10/19/2020            805.62

General Ledger Entry     Postmates Sales HCKZ 10.19.20            10/19/2020             45.46

General Ledger Entry     WORLD PAY - OLO AMEX                     10/19/2020                        0.08

General Ledger Entry     AMEX                                     10/19/2020            507.56

General Ledger Entry     WORLDPAY                                 10/19/2020           4,726.65

General Ledger Entry     WORLD PAY - OLO TENDER                   10/19/2020            153.30

General Ledger Entry     Postmates Sales HCKZ 10.19.20            10/19/2020             27.74

General Ledger Entry     Unknown AMEX Variance HCKZ               10/20/2020    eft        0.71

General Ledger Entry     WORLDPAY                                 10/20/2020           4,034.33

General Ledger Entry     WORLD PAY - OLO TENDER                   10/20/2020            125.80
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General Ledger Entry             DoorDash Sales HCKZ 10.20.20             10/20/2020                  2,721.03

General Ledger Entry             AMEX                                     10/20/2020                   239.29

General Ledger Entry             Unknown AMEX Variance HCKZ               10/21/2020         eft        18.91

General Ledger Entry             DoorDash Sales HCKZ 10.21.20             10/21/2020                  1,473.19

General Ledger Entry             CASH DEPOSIT HCKZ                        10/21/2020                                  237.00

General Ledger Entry             AMEX                                     10/21/2020                   331.67

General Ledger Entry             WORLDPAY                                 10/21/2020                  3,749.11

General Ledger Entry             WORLD PAY - OLO TENDER                   10/21/2020                   333.13

General Ledger Entry             Postmates Sales HCKZ 10.21.20            10/21/2020                    83.43

General Ledger Entry             Unknown AMEX Variance HCKZ               10/22/2020         eft          6.51

General Ledger Entry             Unknown WORLDPAY Variance HCKZ           10/22/2020         eft          0.08

General Ledger Entry             WORLD PAY - OLO AMEX                     10/22/2020                    33.74

General Ledger Entry             WORLD PAY - OLO TENDER                   10/22/2020                   418.06

General Ledger Entry             WORLDPAY                                 10/22/2020                                5,918.49

General Ledger Entry             DoorDash Sales HCKZ 10.22.20             10/22/2020                  1,258.79

General Ledger Entry             Postmates Sales HCKZ 10.22.20            10/22/2020                    39.41

General Ledger Entry             AMEX                                     10/22/2020                   225.14

General Ledger Entry             Postmates Sales HCKZ 10.23.20            10/23/2020                    77.84

General Ledger Entry             DoorDash Sales HCKZ 10.23.20             10/23/2020                  1,129.49

General Ledger Entry             WORLDPAY                                 10/23/2020                                7,387.01

General Ledger Entry             WORLD PAY - OLO TENDER                   10/23/2020                   425.36

General Ledger Entry             WORLD PAY - OLO AMEX                     10/23/2020                    30.21

General Ledger Entry             AMEX                                     10/23/2020                    65.82

General Ledger Entry             GRUBHUB Sales HCKZ 10.23.20              10/23/2020                  2,122.75

General Ledger Entry             WORLDPAY                                 10/24/2020                               12,431.78

General Ledger Entry             AMEX                                     10/24/2020                                  587.18

General Ledger Entry             WORLD PAY - OLO TENDER                   10/24/2020                                  587.22

General Ledger Entry             WORLD PAY - OLO TENDER                   10/25/2020                   427.55

General Ledger Entry             WORLDPAY                                 10/25/2020                                8,083.35

General Ledger Entry             CASH DEPOSIT HCKZ                        10/25/2020                                  130.00

General Ledger Entry             AMEX                                     10/25/2020                   471.57

Total Deposits                                                                                     265,445.53     41,378.88




Checks and Charges
Name                             Memo                                     Date         Check No       Cleared    Outstanding

Michigan Dept of Treasury                                                 09/17/2020      10043      13,726.92

Alliance Beverage Distributing LLC                                        09/28/2020        EFT        855.00

General Ledger Entry             Interco CASH                             09/28/2020         eft     34,038.61

General Ledger Entry             Unknown WORLDPAY Variance HCKZ           09/29/2020         eft          5.76

General Ledger Entry             Unknown AMEX Variance HCKZ               09/29/2020         eft        11.14

General Ledger Entry             Interco CASH                             09/30/2020         eft      7,547.81

State of Michigan - MLCC                                                  09/30/2020        EFT        216.82

General Ledger Entry             Unknown AMEX Variance HCKZ               09/30/2020         eft          5.45

General Ledger Entry             Interco CASH                             10/01/2020         eft      5,474.50
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State of Michigan - MLCC                                                            10/01/2020     EFT     209.34

Imperial Beverage                                                                   10/01/2020     EFT    1,008.00

Henry A. Fox Sales Co.                                                              10/02/2020     EFT     385.00

General Ledger Entry             Interco CASH                                       10/02/2020     eft    3,590.92

Alliance Beverage Distributing LLC                                                  10/05/2020     EFT     423.00

General Ledger Entry             Unknown WORLDPAY Variance HCKZ                     10/05/2020     eft        7.60

General Ledger Entry             Unknown AMEX Variance HCKZ                         10/05/2020     eft     172.84

General Ledger Entry             Interco CASH                                       10/05/2020     eft   35,159.17

General Ledger Entry             Interco CASH                                       10/06/2020     eft    6,328.62

General Ledger Entry             Unknown AMEX Variance HCKZ                         10/06/2020     eft        1.33

Imperial Beverage                                                                   10/06/2020     EFT     115.00

IHS Distributing                                                                    10/06/2020     EFT     190.00

State of Michigan - MLCC                                                            10/06/2020     EFT     688.09

West Side Beer Distributing                                                         10/06/2020     EFT     154.00

General Ledger Entry             Unknown WORLDPAY Variance HCKZ                     10/07/2020     eft        9.54

General Ledger Entry             Interco CASH                                       10/07/2020     eft    6,134.54

M4 C.I.C. LLC                                                                       10/08/2020     EFT     170.00

West Side Beer Distributing                                                         10/08/2020     EFT     209.00

General Ledger Entry             Unknown AMEX Variance HCKZ                         10/08/2020     eft        8.25

General Ledger Entry             Interco CASH                                       10/08/2020     eft    5,050.68

Imperial Beverage                                                                   10/08/2020     EFT    1,479.75

General Ledger Entry             Unknown WORLDPAY Variance HCKZ                     10/09/2020     eft        6.00

Henry A. Fox Sales Co.                                                              10/09/2020     EFT     188.00

State of Michigan - MLCC                                                            10/09/2020     EFT     230.77

fintech                                                                             10/09/2020     EFT      37.32

General Ledger Entry             Interco CASH                                       10/09/2020     eft    3,237.09

General Ledger Entry             Unknown AMEX Variance HCKZ                         10/12/2020     eft        2.81

General Ledger Entry             Unknown AMEX Variance HCKZ                         10/13/2020     eft      21.20

Red Tap Solutions                                                                   10/13/2020     EFT     875.00

Alliance Beverage Distributing LLC                                                  10/13/2020     EFT     403.00

General Ledger Entry             Interco CASH                                       10/13/2020     eft   45,962.37

General Ledger Entry             Mercantile Monthly Bank Charges - P10 2020 NewCo   10/14/2020     eft      43.72

OLO                                                                                 10/14/2020     EFT     711.58

State of Michigan - MLCC                                                            10/14/2020     EFT     365.26

General Ledger Entry             Unknown WORLDPAY Variance HCKZ                     10/14/2020     eft      21.09

General Ledger Entry             Unknown AMEX Variance HCKZ                         10/14/2020     eft        4.68

General Ledger Entry             Interco CASH                                       10/14/2020     eft   10,715.12

IHS Distributing                                                                    10/14/2020     EFT      90.00

Michigan Dept of Treasury                                                           10/14/2020   10044               15,486.31

General Ledger Entry             Interco CASH                                       10/15/2020     eft    6,992.18

General Ledger Entry             WorldPay Monthly Charges - P10 2020 NewCo          10/15/2020     eft     275.04

General Ledger Entry             WorldPay Monthly Charges - P10 2020 NewCo          10/15/2020     eft    4,333.27

West Side Beer Distributing                                                         10/15/2020     EFT     119.00

General Ledger Entry             Unknown WORLDPAY Variance HCKZ                     10/15/2020     eft        2.15
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General Ledger Entry             Positive Solutions Support - Monthly Transact on P10 NewC 10/15/2020   eft       573.50

General Ledger Entry             Unknown AMEX Variance HCKZ                              10/15/2020     eft        14.62

General Ledger Entry             Interco CASH                                            10/16/2020     eft      8,540.39

Imperial Beverage                                                                        10/16/2020     EFT       884.30

Henry A. Fox Sales Co.                                                                   10/16/2020     EFT       109.00

Alliance Beverage Distributing LLC                                                       10/19/2020     EFT       906.00

General Ledger Entry             Unknown WORLDPAY Variance HCKZ                          10/19/2020     eft          0.04

General Ledger Entry             Interco CASH                                            10/19/2020     eft     32,817.99

General Ledger Entry             Unknown AMEX Variance HCKZ                              10/19/2020     eft          2.15

State of Michigan - MLCC                                                                 10/20/2020     EFT       413.34

IHS Distributing                                                                         10/20/2020     EFT       180.00

General Ledger Entry             Interco CASH                                            10/20/2020     eft      7,703.44

General Ledger Entry             Unknown WORLDPAY Variance HCKZ                          10/20/2020     eft          4.73

Imperial Beverage                                                                        10/20/2020     EFT       155.00

General Ledger Entry             Interco CASH                                            10/21/2020     eft      5,907.81

Imperial Beverage                                                                        10/22/2020     EFT       512.60

West Side Beer Distributing                                                              10/22/2020     EFT       239.00

State of Michigan - MLCC                                                                 10/22/2020     EFT       304.26

General Ledger Entry             Interco CASH                                            10/22/2020     eft      4,376.48

General Ledger Entry             Interco CASH                                            10/23/2020     eft      3,776.61

General Ledger Entry             Unknown AMEX Variance HCKZ                              10/23/2020     eft        10.94

Total Checks and Charges                                                                                      265,445.53    15,486.31
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                                                    Return Service Requested                                            Page:             1 of 1
                                                                                                                        Statement Date: 10/30/2020
                                                                                                                        Primary Account: XXXXXX8664
                                                                         07001
                                                                                                                        Documents:       0

                                                                                                                        Period: 09/30/20 to 10/30/20
MGMCSTMTN 201031-18245-0001




                                                                                                                         E
                                                            HOPCAT-MINNEAPOLIS, LLC                               <T> 30-0
                                                            35 OAKES ST SW STE 400                                       0
                                                            GRAND RAPIDS, MI 49503                                       0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                           Account: XXXXXX8664
                               Last Statement    Previous Balance         This Statement        Current Balance     Total Credits      Total Debits
                                   09/30/20             0.00                     10/30/20             0.00            142.75 (3)        142.75 (3)


                              CREDITS
                              Date Description                                                                                               Amount
                              10/05 Transfer From Coml Analysis Ck Account                                                                       57.95
                              10/06 Transfer From Coml Analysis Ck Account                                                                       17.50
                              10/15 Transfer From Coml Analysis Ck Account                                                                       67.30

                              DEBITS
                              Date Description                                                                                               Amount
                              10/05 Mthchgs Worldpay Merch Bankcard                    Hopcat Minny                                              57.95
                              10/06 Billng Vantiv_intg_pymt Merch Bankcard                 Hopcat Minneapolis                                    17.50
                              10/15 Commercial Service Charge                                                                                    67.30

                              DAILY BALANCE
                                Date                 Balance                   Date                Balance           Date              Balance
                                 10/05                                         10/06                                 10/15
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                                                                          BARFLY VENTURES, LLC               Page:            2 of 10
                                                                          35 OAKES ST SW STE 400
                                                                          GRAND RAP DS, MI 49503             Statement Date: 10/30/2020
                                                                                                             Primary Account: XXXXXX4777




                              CREDITS (Continued)
MGMCSTMTN 201031-18779-0002




                              Date Description                                                                                 Amount
                              10/05   Transfer From Coml Analysis Ck Account                                                  30,098.85
                              10/05   Transfer From Coml Analysis Ck Account                                                  31,925.21
                              10/05   Transfer From Coml Analysis Ck Account                                                  35,111.20
                              10/05   Transfer From Coml Analysis Ck Account                                                  35,159.17
                              10/06   Transfer From Coml Analysis Ck Account                                                   1,549.42
                              10/06   Transfer From Coml Analysis Ck Account                                                   3,455.73
                              10/06   Transfer From Coml Analysis Ck Account                                                   3,634.02
                              10/06   Transfer From Coml Analysis Ck Account                                                   3,815.59
                              10/06   Transfer From Coml Analysis Ck Account                                                   4,517.63
                              10/06   Transfer From Coml Analysis Ck Account                                                   5,335.29
                              10/06   Transfer From Coml Analysis Ck Account         9                                         6,323.65
                              10/06   Transfer From Coml Analysis Ck Account                                                   6,328.62
                              10/06   Transfer From Coml Analysis Ck Account                                                   6,536.12
                              10/06   Transfer From Coml Analysis Ck Account                                                   8,404.08
                              10/06   Transfer From Coml Analysis Ck Account                                                   8,847.58
                              10/07   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                25.00
                              10/07   Transfer From Coml Analysis Ck Account                                                   1,968.63
                              10/07   Transfer From Coml Analysis Ck Account                                                   2,110.91
                              10/07   Transfer From Coml Analysis Ck Account                                                   2,311.22
                              10/07   Transfer From Coml Analysis Ck Account                                                   2,719.96
                              10/07   Transfer From Coml Analysis Ck Account                                                   3,292.78
                              10/07   Transfer From Coml Analysis Ck Account                                                   4,073.41
                              10/07   Transfer From Coml Analysis Ck Account                                                   4,352.25
                              10/07   Transfer From Coml Analysis Ck Account                                                   6,067.21
                              10/07   Transfer From Coml Analysis Ck Account                                                   6,131.96
                              10/07   Transfer From Coml Analysis Ck Account                                                   6,134.54
                              10/07   Transfer From Coml Analysis Ck Account                                                   6,384.68
                              10/08   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                50.00
                              10/08   Transfer From Coml Analysis Ck Account                                                     821.88
                              10/08   Infinisource0706 Pc Sep20                                                                1,551.38
                              10/08   Transfer From Coml Analysis Ck Account                                                   1,691.87
                              10/08   Payments Bhn Ft Sre                    For 2020-10-08 A/C Mercanti                       2,061.25
                              10/08   Transfer From Coml Analysis Ck Account                                                   2,187.19
                              10/08   Transfer From Coml Analysis Ck Account                                                   2,809.67
                              10/08   Transfer From Coml Analysis Ck Account                                                   3,006.99
                              10/08   Transfer From Coml Analysis Ck Account                                                   3,559.95
                              10/08   Transfer From Coml Analysis Ck Account                                                   4,450.47
                              10/08   Transfer From Coml Analysis Ck Account                                                   5,050.68
                              10/08   Transfer From Coml Analysis Ck Account                                                   5,870.82
                              10/08   Transfer From Coml Analysis Ck Account                                                   7,207.64
                              10/09   Gordon Food Serv Ar Payment 0001-                                                           37.81
                              10/09   Transfer From Coml Analysis Ck Account                                                   2,152.19
                              10/09   Transfer From Coml Analysis Ck Account                                                   3,237.09
                              10/09   Transfer From Coml Analysis Ck Account                                                   3,560.48
                              10/09   Transfer From Coml Analysis Ck Account                                                   4,117.96
                              10/09   Transfer From Coml Analysis Ck Account                                                   4,996.08
                              10/09   Transfer From Coml Analysis Ck Account                                                   6,633.93
                              10/09   Transfer From Coml Analysis Ck Account                                                   7,025.32
                              10/09   Transfer From Coml Analysis Ck Account                                                   7,108.20
                              10/09   Transfer From Coml Analysis Ck Account                                                   8,023.33
                              10/09   Transfer From Coml Analysis Ck Account                                                   8,665.84
                              10/09   Transfer From Coml Analysis Ck Account                                                   8,857.46
                              10/13   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                60.00
                              10/13   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                65.00
                              10/13   Transfer From Coml Analysis Ck Account                                                  23,017.82
                              10/13   Transfer From Coml Analysis Ck Account                                                  24,879.88
                              10/13   Transfer From Coml Analysis Ck Account                                                  28,122.13
                              10/13   Transfer From Coml Analysis Ck Account                                                  28,242.98
                              10/13   Transfer From Coml Analysis Ck Account                                                  33,387.40
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                                           Case:20-01947-jwb          Doc #:440-2 Filed: 02/09/2021        Page 38 of 60
                                                                          BARFLY VENTURES, LLC               Page:            4 of 10
                                                                          35 OAKES ST SW STE 400
                                                                          GRAND RAP DS, MI 49503             Statement Date: 10/30/2020
                                                                                                             Primary Account: XXXXXX4777




                              CREDITS (Continued)
MGMCSTMTN 201031-18779-0004




                              Date Description                                                                                 Amount
                              10/20   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                               100.00
                              10/20   Transfer From Coml Analysis Ck Account                                                     318.89
                              10/20   Transfer From Coml Analysis Ck Account                                                   1,751.21
                              10/20   Transfer From Coml Analysis Ck Account                                                   3,156.39
                              10/20   Transfer From Coml Analysis Ck Account                                                   3,188.92
                              10/20   Transfer From Coml Analysis Ck Account                                                   4,113.28
                              10/20   Transfer From Coml Analysis Ck Account                                                   5,046.32
                              10/20   Transfer From Coml Analysis Ck Account                                                   5,554.70
                              10/20   Transfer From Coml Analysis Ck Account                                                   6,495.66
                              10/20   Transfer From Coml Analysis Ck Account                                                   7,703.44
                              10/20   Transfer From Coml Analysis Ck Account                                                   8,534.94
                              10/20   Transfer From Coml Analysis Ck Account                                                   9,797.32
                              10/21   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                40.00
                              10/21   Transfer From Coml Analysis Ck Account                                                     912.73
                              10/21   Transfer From Coml Analysis Ck Account                                                   1,022.88
                              10/21   Transfer From Coml Analysis Ck Account                                                   2,187.16
                              10/21   Transfer From Coml Analysis Ck Account                                                   2,257.16
                              10/21   Transfer From Coml Analysis Ck Account                                                   4,706.05
                              10/21   Transfer From Coml Analysis Ck Account                                                   5,907.81
                              10/21   Transfer From Coml Analysis Ck Account                                                   6,203.46
                              10/21   Transfer From Coml Analysis Ck Account                                                   6,297.82
                              10/21   Transfer From Coml Analysis Ck Account                                                   6,754.05
                              10/21   Transfer From Coml Analysis Ck Account                                                   6,784.00
                              10/22   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                25.00
                              10/22   American Express Settlement XXXXXX5238                                                      48.49
                              10/22   Transfer From Coml Analysis Ck Account                                                     909.89
                              10/22   Transfer From Coml Analysis Ck Account                                                   1,685.88
                              10/22   Payments Bhn Ft Sre                    For 2020-10-22 A/C Mercanti                       2,099.50
                              10/22   Transfer From Coml Analysis Ck Account                                                   3,000.02
                              10/22   Transfer From Coml Analysis Ck Account                                                   3,372.96
                              10/22   Transfer From Coml Analysis Ck Account                                                   3,673.95
                              10/22   Transfer From Coml Analysis Ck Account                                                   3,913.15
                              10/22   Transfer From Coml Analysis Ck Account                                                   3,941.53
                              10/22   Transfer From Coml Analysis Ck Account                                                   4,376.48
                              10/22   Transfer From Coml Analysis Ck Account                                                   5,526.98
                              10/22   Transfer From Coml Analysis Ck Account                                                   6,726.58
                              10/22   Transfer From Coml Analysis Ck Account                                                   7,085.63
                              10/23   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                               990.00
                              10/23   Transfer From Coml Analysis Ck Account                                                   2,472.88
                              10/23   Transfer From Coml Analysis Ck Account                                                   2,848.45
                              10/23   Transfer From Coml Analysis Ck Account                                                   3,776.61
                              10/23   Transfer From Coml Analysis Ck Account                                                   4,220.71
                              10/23   Transfer From Coml Analysis Ck Account                                                   4,224.76
                              10/23   Transfer From Coml Analysis Ck Account                                                   4,613.52
                              10/23   Transfer From Coml Analysis Ck Account                                                   6,746.83
                              10/23   Transfer From Coml Analysis Ck Account                                                   7,535.97
                              10/23   Transfer From Coml Analysis Ck Account                                                   7,891.49
                              10/23   Transfer From Coml Analysis Ck Account                                                   8,305.12
                              10/23   Transfer From Coml Analysis Ck Account                                                   8,861.58
                              10/26   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                50.00
                              10/26   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                50.00
                              10/26   Transfer From Coml Analysis Ck Account                                                  17,294.49
                              10/26   Transfer From Coml Analysis Ck Account                                                  17,970.56
                              10/26   Transfer From Coml Analysis Ck Account                                                  18,670.26
                              10/26   Transfer From Coml Analysis Ck Account                                                  19,302.02
                              10/26   Transfer From Coml Analysis Ck Account                                                  19,694.92
                              10/26   Transfer From Coml Analysis Ck Account                                                  19,723.03
                              10/26   Transfer From Coml Analysis Ck Account                                                  24,775.47
                              10/26   Transfer From Coml Analysis Ck Account                                                  28,346.79
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                                                                             BARFLY VENTURES, LLC                        Page:            5 of 10
                                                                             35 OAKES ST SW STE 400
                                                                             GRAND RAP DS, MI 49503                      Statement Date: 10/30/2020
                                                                                                                         Primary Account: XXXXXX4777




                               CREDITS (Continued)
MGMCSTMTN 201031-18779-0005




                              Date Description                                                                                             Amount
                              10/26   Transfer From Coml Analysis Ck Account                                                              35,765.36
                              10/26   Transfer From Coml Analysis Ck Account                                                              36,207.05
                              10/26   Transfer From Coml Analysis Ck Account                                                              42,510.92
                              10/27   Transfer From Coml Analysis Ck Account                                                                 366.09
                              10/27   Transfer From Coml Analysis Ck Account                                                                 657.45
                              10/27   Transfer From Coml Analysis Ck Account                                                               1,771.59
                              10/27   Transfer From Coml Analysis Ck Account                                                               2,813.69
                              10/27   Transfer From Coml Analysis Ck Account                                                               3,229.18
                              10/27   Transfer From Coml Analysis Ck Account                                                               5,267.38
                              10/27   Transfer From Coml Analysis Ck Account                                                               7,951.46
                              10/27   Transfer From Coml Analysis Ck Account                                                               8,017.57
                              10/28   Transfer From Coml Analysis Ck Account                                                                 243.69
                              10/28   Transfer From Coml Analysis Ck Account                                                                 299.70
                              10/28   Transfer From Coml Analysis Ck Account                                                                 427.55
                              10/28   Transfer From Coml Analysis Ck Account                                                                 458.31
                              10/28   Transfer From Coml Analysis Ck Account                                                               1,609.35
                              10/29   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                           120.00
                              10/29   Transfer From Coml Analysis Ck Account                                                                 432.60
                              10/29   Payments Bhn Ft Sre                    For 2020-10-29 A/C Mercanti                                   2,082.50
                              10/30   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                            75.00
                              10/30   Transfer From Coml Analysis Ck Account                                                                 145.01
                              10/30   Transfer From Coml Analysis Ck Account                                                                 276.58
                              10/30   Transfer From Coml Analysis Ck Account                                                                 337.15
                              10/30   Transfer From Coml Analysis Ck Account                                                                 815.13
                              10/30   Transfer From Coml Analysis Ck Account                                                                 997.78
                              10/30   Transfer From Coml Analysis Ck Account                                                               1,242.86
                              10/30   Transfer From Coml Analysis Ck Account                                                               1,649.62
                              10/30   Transfer From Coml Analysis Ck Account                                                               1,881.94
                              10/30   Transfer From Coml Analysis Ck Account                                                               2,067.88
                              10/30   Transfer From Coml Analysis Ck Account                                                               2,407.72

                               CHECKS
                               Date      Check No      Amount         Date         Check No           Amount      Date      Check No     Amount
                              10/02       83863   *      271.86      10/16         83986                300.00   10/16       84012          93.75
                              10/08       83942   *       65.00      10/06         83987                680.00   10/14       84013          75.00
                              10/01       83954   *       60.00      10/06         83988                534.24   10/14       84014       6,265.00
                              10/01       83958           27.00      10/06         83989                502.44   10/09       84015         206.21
                              10/02       83959   *      350.00      10/09         83990                527.69   10/14       84016          20.00
                              10/01       83963   *      497.54      10/07         83991                107.65   10/14       84017           9.50
                              10/27       83966          497.70      10/07         83992                 91.90   10/14       84018         303.62
                              10/07       83967          365.76      10/07         83993                150.29   10/14       84019         303.62
                              10/08       83968          343.73      10/09         83994                901.93   10/14       84020       1,853.62
                              10/08       83969          980.47      10/05         83995                900.00   10/14       84021         303.62
                              10/08       83970          906.40      10/16         83996              1,200.00   10/14       84022       1,810.51
                              10/07       83971        1,868.00      10/07         83997              1,028.11   10/14       84023         421.71
                              10/06       83972          206.50      10/07         83998              5,670.00   10/22       84024         348.00
                              10/05       83973        2,991.50      10/05         83999                382.50   10/21       84025         877.76
                              10/07       83974          430.00      10/06         84000                216.67   10/21       84026         461.77
                              10/08       83975           91.20      10/07         84001                165.10   10/21       84027       1,052.46
                              10/08       83976          229.24      10/07         84002                154.35   10/21       84028       1,238.48
                              10/08       83977        6,827.69      10/07         84003                513.91   10/20       84029         328.69
                              10/19       83978           60.00      10/06         84004                325.00   10/23       84030         755.00
                              10/06       83979          152.51      10/13         84005              1,374.87   10/23       84031         386.00
                              10/06       83980          350.00      10/13         84006                243.35   10/19       84032      11,449.87
                              10/06       83981          300.00      10/13         84007                190.24   10/21       84033       1,868.00
                              10/06       83982        1,847.04      10/13         84008                299.68   10/20       84034          79.00
                              10/07       83983        5,173.00      10/13         84009                701.20   10/21       84035         239.95
                              10/07       83984          120.00      10/13         84010              1,246.86   10/28       84036         760.00
                              10/06       83985          558.01      10/13         84011              1,475.87   10/16       84037         356.04
                              * Indicates a Gap in Check Number Sequence
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                                                                              BARFLY VENTURES, LLC                        Page:            6 of 10
                                                                              35 OAKES ST SW STE 400
                                                                              GRAND RAP DS, MI 49503                      Statement Date: 10/30/2020
                                                                                                                          Primary Account: XXXXXX4777




                               CHECKS (Continued)
MGMCSTMTN 201031-18779-0006




                               Date      Check No       Amount         Date         Check No           Amount      Date      Check No     Amount
                              10/23       84038        2,010.00       10/20         84053                332.91   10/26       84070         193.05
                              10/26       84039          531.00       10/19         84054 *               70.38   10/27       84071         548.50
                              10/20       84040          756.00       10/23         84057              1,532.20   10/30       84072       1,430.00
                              10/26       84041          580.00       10/19         84058              1,712.75   10/26       84073          51.64
                              10/26       84042          580.00       10/19         84059              8,130.20   10/29       84074          27.00
                              10/26       84043          580.00       10/22         84060              4,280.91   10/30       84075         271.82
                              10/26       84044          580.00       10/28         84061                 69.55   10/29       84076         479.48
                              10/19       84045 *        350.00       10/28         84062                220.72   10/28       84077         505.37
                              10/22       84047           27.00       10/27         84063                 21.07   10/28       84078         535.06
                              10/20       84048          303.62       10/28         84064                950.00   10/28       84079 *       493.10
                              10/20       84049          900.00       10/29         84065                546.56   10/27       84081          85.00
                              10/22       84050        1,030.00       10/28         84066 *              172.18   10/27       84082         139.33
                              10/20       84051           81.00       10/26         84068                321.38   10/27       84083         548.99
                              10/26       84052          575.34       10/26         84069              3,195.96   10/27       84084         117.64
                              * Indicates a Gap in Check Number Sequence

                               DEBITS
                              Date Description                                                                                              Amount
                              10/01   Enviro-Master In Ach Batch Northern Mi                                                                  115.00
                              10/01   Gordon Food Serv Ar Payment 0001-                                                                     1,362.47
                              10/01   Gordon Food Serv Ar Payment 0001-                                                                     2,686.11
                              10/01   Gordon Food Serv Ar Payment 0001-                                                                     3,882.40
                              10/01   Gordon Food Serv Ar Payment 0001-                                                                     4,196.84
                              10/01   Gordon Food Serv Ar Payment 0001-                                                                     4,260.55
                              10/01   Gordon Food Serv Ar Payment 0001-                                                                     4,362.35
                              10/01   Gordon Food Serv Ar Payment 0001-                                                                     4,951.37
                              10/01   Gordon Food Serv Ar Payment 0001-                                                                     4,994.67
                              10/01   Gordon Food Serv Ar Payment 0001-                                                                     5,324.68
                              10/01   Gordon Food Serv Ar Payment 0001-                                                                     5,719.34
                              10/01   Gordon Food Serv Ar Payment 0001-                                                                     7,722.82
                              10/01   Internet Transfer To Internal Bank Ac XXXXXX639 On 10/01/20 At 14:08                                 61,275.05
                              10/01   Internet Transfer To Internal Bank Ac XXXXXX639 On 10/01/20 At 14:21                                125,000.00
                              10/02   Gordon Food Serv Ar Payment 0001-                                                                         6.36
                              10/02   Gordon Food Serv Ar Payment 0001-                                                                        71.01
                              10/02   Gordon Food Serv Ar Payment 0001-                                                                       250.58
                              10/02   Hr Select Llc Hr Select                                                                                 266.00
                              10/02   Gordon Food Serv Ar Payment 0001-                                                                       830.67
                              10/02   Enviro-Master In Ach Batch Grand Rapids                                                                 970.64
                              10/02   Visa Payment                                                                                          5,346.66
                              10/05   Gordon Food Serv Ar Payment 0001-                                                                        16.98
                              10/05   Transfer To Coml Analysis Ck Account                                                                     27.95
                              10/05   Transfer To Coml Analysis Ck Account                                                                     27.95
                              10/05   Transfer To Coml Analysis Ck Account                                                                     27.95
                              10/05   Transfer To Coml Analysis Ck Account                                                                     57.95
                              10/05   Mthchgs Worldpay Merch Bankcard            Barfly App                                                    98.85
                              10/05   Gordon Food Serv Ar Payment 0001-                                                                       115.09
                              10/05   Gordon Food Serv Ar Payment 0001-                                                                     1,638.07
                              10/05   Gordon Food Serv Ar Payment 0001-                                                                     4,314.95
                              10/05   Gordon Food Serv Ar Payment 0001-                                                                     4,533.16
                              10/05   Gordon Food Serv Ar Payment 0001-                                                                     4,728.64
                              10/05   Gordon Food Serv Ar Payment 0001-                                                                     6,736.67
                              10/05   Barfly Ventures 1054 Clm Fund                                                                        16,925.28
                              10/06   Transfer To Coml Analysis Ck Account                                                                     17.50
                              10/06   Transfer To Coml Analysis Ck Account                                                                     17.50
                              10/06   Transfer To Coml Analysis Ck Account                                                                     17.50
                              10/06   Gordon Food Serv Ar Payment 0001-                                                                     1,663.74
                              10/06   Gordon Food Serv Ar Payment 0001-                                                                     3,344.30
                              10/06   Gordon Food Serv Ar Payment 0001-                                                                     4,104.93
                              10/06   Gordon Food Serv Ar Payment 0001-                                                                     4,695.27
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                                                                           BARFLY VENTURES, LLC                 Page:            7 of 10
                                                                           35 OAKES ST SW STE 400
                                                                           GRAND RAP DS, MI 49503               Statement Date: 10/30/2020
                                                                                                                Primary Account: XXXXXX4777




                              DEBITS (Continued)
MGMCSTMTN 201031-18779-0007




                              Date Description                                                                                    Amount
                              10/06   Gordon Food Serv Ar Payment 0001-                                                           4,775.40
                              10/06   Gordon Food Serv Ar Payment 0001-                                                           5,726.69
                              10/06   Gordon Food Serv Ar Payment 0001-                                                           6,116.16
                              10/06   Gordon Food Serv Ar Payment 0001-                                                           6,706.69
                              10/06   Gordon Food Serv Ar Payment 0001-                                                           6,894.14
                              10/06   Gordon Food Serv Ar Payment 0001-                                                           7,876.87
                              10/06   Gordon Food Serv Ar Payment 0001-                                                           8,567.03
                              10/07   Gordon Food Serv Ar Payment 0001-                                                              15.99
                              10/07   Gordon Food Serv Ar Payment 0001-                                                              91.16
                              10/07   Gordon Food Serv Ar Payment 0001-                                                             149.22
                              10/07   Valley City Line Ach Xfer                                                                   1,529.09
                              10/07   Visa Payment                                                                                3,994.39
                              10/07   Internet Transfer To Internal Bank Ac XXXXXX639 On 10/07/20 At 14:10                       10,000.00
                              10/07   Internet Transfer To Internal Bank Ac XXXXXX639 On 10/07/20 At 12:21                       18,436.49
                              10/07   Internet Transfer To Coml Analysis Ck XXXXXX4153 On 10/07/20 At 14:08                      20,000.00
                              10/07   Internet Transfer To Internal Bank Ac XXXXXX639 On 10/07/20 At 14:12                      250,000.00
                              10/08   Transfer To Coml Analysis Ck Account                                                        1,326.31
                              10/08   Gordon Food Serv Ar Payment 0001-                                                           1,708.30
                              10/08   Gordon Food Serv Ar Payment 0001-                                                           3,120.66
                              10/08   Gordon Food Serv Ar Payment 0001-                                                           3,840.34
                              10/08   Gordon Food Serv Ar Payment 0001-                                                           3,927.29
                              10/08   Gordon Food Serv Ar Payment 0001-                                                           4,204.24
                              10/08   Gordon Food Serv Ar Payment 0001-                                                           4,485.25
                              10/08   Gordon Food Serv Ar Payment 0001-                                                           4,912.00
                              10/08   Gordon Food Serv Ar Payment 0001-                                                           5,938.51
                              10/08   Gordon Food Serv Ar Payment 0001-                                                           6,177.56
                              10/08   Gordon Food Serv Ar Payment 0001-                                                           6,419.94
                              10/09   Gordon Food Serv Ar Payment 0001-                                                               4.99
                              10/09   Transfer To Coml Analysis Ck Account                                                           37.32
                              10/09   Adp Payroll Fees Adp - Fees                                                                    39.36
                              10/09   Gordon Food Serv Ar Payment 0001-                                                             138.41
                              10/09   Enviro-Master In Ach Batch Northern Mi                                                        319.00
                              10/09   Gordon Food Serv Ar Payment 0001-                                                             783.99
                              10/09   Adp Payroll Fees Adp - Fees                                                                 2,787.80
                              10/09   Accident Fund Online Pay                                                                    9,224.40
                              10/13   Ins Prem Enroll 123 Llc Nte*Teladoc Invoice                                                   112.50
                              10/13   Gordon Food Serv Ar Payment 0001-                                                             121.97
                              10/13   Gordon Food Serv Ar Payment 0001-                                                             136.68
                              10/13   Gordon Food Serv Ar Payment 0001-                                                           1,140.41
                              10/13   Visa Payment                                                                                2,136.49
                              10/13   Gordon Food Serv Ar Payment 0001-                                                           2,581.72
                              10/13   Gordon Food Serv Ar Payment 0001-                                                           2,610.48
                              10/13   Gordon Food Serv Ar Payment 0001-                                                           2,836.30
                              10/13   Gordon Food Serv Ar Payment 0001-                                                           3,055.01
                              10/13   Gordon Food Serv Ar Payment 0001-                                                           3,231.55
                              10/13   Gordon Food Serv Ar Payment 0001-                                                           4,459.91
                              10/13   Gordon Food Serv Ar Payment 0001-                                                           4,513.53
                              10/13   Gordon Food Serv Ar Payment 0001-                                                           4,544.66
                              10/13   Gordon Food Serv Ar Payment 0001-                                                           5,564.59
                              10/13   Gordon Food Serv Ar Payment 0001-                                                           6,536.26
                              10/13   Gordon Food Serv Ar Payment 0001-                                                           6,733.66
                              10/13   Gordon Food Serv Ar Payment 0001-                                                           7,161.41
                              10/13   Gordon Food Serv Ar Payment 0001-                                                           7,623.11
                              10/13   Gordon Food Serv Ar Payment 0001-                                                           8,060.26
                              10/13   Gordon Food Serv Ar Payment 0001-                                                           8,956.91
                              10/13   Gordon Food Serv Ar Payment 0001-                                                          10,070.87
                              10/14   Gordon Food Serv Ar Payment 0001-                                                              45.18
                              10/14   Gordon Food Serv Ar Payment 0001-                                                             115.86
                              10/14   Transfer To Coml Analysis Ck Account                                                          140.04
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                                                                            BARFLY VENTURES, LLC                  Page:            10 of 10
                                                                            35 OAKES ST SW STE 400
                                                                            GRAND RAP DS, MI 49503                Statement Date: 10/30/2020
                                                                                                                  Primary Account: XXXXXX4777




                              DEBITS (Continued)
MGMCSTMTN 201031-18779-0010




                              Date Description                                                                                      Amount
                              10/29   Transfer To Coml Analysis Ck Account                                                             87.80
                              10/29   Transfer To Coml Analysis Ck Account                                                            249.17
                              10/29   Transfer To Coml Analysis Ck Account                                                            269.01
                              10/29   Transfer To Coml Analysis Ck Account                                                            439.85
                              10/29   Transfer To Coml Analysis Ck Account                                                            439.88
                              10/29   Transfer To Coml Analysis Ck Account                                                            584.37
                              10/29   Transfer To Coml Analysis Ck Account                                                          1,082.35
                              10/29   Gordon Food Serv Ar Payment 0001-                                                             2,561.60
                              10/29   Gordon Food Serv Ar Payment 0001-                                                             3,548.92
                              10/29   Gordon Food Serv Ar Payment 0001-                                                             4,085.05
                              10/29   Gordon Food Serv Ar Payment 0001-                                                             4,131.93
                              10/29   Gordon Food Serv Ar Payment 0001-                                                             4,468.78
                              10/29   Gordon Food Serv Ar Payment 0001-                                                             4,515.62
                              10/29   Gordon Food Serv Ar Payment 0001-                                                             4,975.46
                              10/29   Internet Transfer To Internal Bank Ac XXXXXX639 On 10/29/20 At 11:04                          5,149.84
                              10/29   Gordon Food Serv Ar Payment 0001-                                                             5,621.77
                              10/29   Gordon Food Serv Ar Payment 0001-                                                             5,754.45
                              10/29   Gordon Food Serv Ar Payment 0001-                                                             7,216.47
                              10/29   Outgoing Wire 103686 Corrigan Moving Systems                                                 18,500.00
                              10/30   Hr Select Llc Hr Select Imjrb7lg5                                                               114.00
                              10/30   Transfer To Coml Analysis Ck Account                                                            690.06

                              DAILY BALANCE
                                Date                  Balance             Date                       Balance   Date            Balance
                                 10/01              195,004.68            10/05                462,849.84      10/07        180,919.58
                                 10/02              248,840.77            10/06                455,401.44      10/08        165,735.24
                                 10/09              215,179.83            10/19                422,993.65      10/26        511,364.66
                                 10/13              530,478.18            10/20                412,818.24      10/27        446,033.75
                                 10/14              324,742.25            10/21                447,843.56      10/28        382,136.69
                                 10/15              133,231.54            10/22                401,241.49      10/29        309,951.86
                                 10/16              191,910.73            10/23                459,046.21      10/30        319,342.65
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                                               BarFly Ventures
                                             Reconciliation Report
                                                     As Of 10/25/2020
                                            Account: Checking - BarFly Oper Merc
Statement Ending Balance                                                                                         459,046.21
Deposits in Transit                                                                                                  278.14
Outstanding Checks and Charges                                                                                   -55,720.91
Adjusted Bank Balance                                                                                            403,603.44


Book Balance                                                                                                     403,603.44
Adjustments*                                                                                                           0.00
Adjusted Book Balance                                                                                            403,603.44




                                 Total Checks and Charges Cleared       223,464.74   Total Deposits Cleared      490,600.22



Deposits
Name                             Memo                                   Date           Doc No         Cleared     In Transit
General Ledger Entry             GFS            HCHL                   07/17/2020                                     13.80
General Ledger Entry             GFS            GRBC                   07/17/2020                                       5.72
General Ledger Entry             GFS            HCDT                   07/17/2020                                     16.56
General Ledger Entry             GFS            HCEL                   07/17/2020                                     11.04
General Ledger Entry             GFS            HCLN                   07/17/2020                                     14.74
General Ledger Entry             GFS            HCBL                   07/17/2020                                       8.28
General Ledger Entry             GFS            HCAA                   07/17/2020                                     24.84
General Ledger Entry             GFS            HCIN                   07/17/2020                                       8.16
General Ledger Entry             Paytronix E-Gift Card Payment         07/20/2020           eft                       25.00
General Ledger Entry             Paytronix E-Gift Card Payment         07/23/2020           eft                       25.00
General Ledger Entry             Paytronix E-Gift Card Payment         10/19/2020           eft                      125.00
General Ledger Entry             Paytronix E-Gift Card Payment         10/19/2020           eft          50.00
General Ledger Entry             Interco CASH                          10/19/2020           eft      37,854.59
General Ledger Entry             Interco CASH                          10/19/2020           eft      35,138.19
General Ledger Entry             Interco CASH                          10/19/2020           eft      35,082.27
General Ledger Entry             Interco CASH                          10/19/2020           eft      32,817.99
General Ledger Entry             Interco CASH                          10/19/2020           eft      28,662.43
General Ledger Entry             Interco CASH                          10/19/2020           eft      23,683.37
General Ledger Entry             Interco CASH                          10/19/2020           eft      21,683.19
General Ledger Entry             Interco CASH                          10/19/2020           eft      20,779.30
General Ledger Entry             Interco CASH                          10/19/2020           eft      18,839.42
General Ledger Entry             Interco CASH                          10/19/2020           eft      16,882.41
General Ledger Entry             Interco CASH                          10/19/2020           eft      11,303.91
General Ledger Entry             Paytronix E-Gift Card Payment         10/19/2020           eft         115.00
General Ledger Entry             Paytronix E-Gift Card Payment         10/20/2020           eft         100.00
General Ledger Entry             Interco CASH                          10/20/2020           eft       1,751.21
General Ledger Entry             Interco CASH                          10/20/2020           eft         318.89
General Ledger Entry             Interco CASH                          10/20/2020           eft       7,703.44
General Ledger Entry             Interco CASH                          10/20/2020           eft       6,495.66
General Ledger Entry             Interco CASH                          10/20/2020           eft       5,554.70
General Ledger Entry             Interco CASH                          10/20/2020           eft       5,046.32
General Ledger Entry             Interco CASH                          10/20/2020           eft       4,113.28
General Ledger Entry             Interco CASH                          10/20/2020           eft       3,188.92
General Ledger Entry             Interco CASH                          10/20/2020           eft       3,156.39
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General Ledger Entry                      HCMN ACCIDENT FUND ONLINE PAY              06/04/2020       eft                 17.50
General Ledger Entry                      GRBC ACCIDENT FUND ONLINE PAY              06/04/2020       eft                 27.95
General Ledger Entry                      HCLV ACCIDENT FUND ONLINE PAY              06/04/2020                           17.50
General Ledger Entry                      HCKC ACCIDENT FUND ONLINE PAY              06/04/2020                           17.50
General Ledger Entry                      HCRO ACCIDENT FUND ONLINE PAY              06/04/2020                           17.50
General Ledger Entry                      HCMD ACCIDENT FUND ONLINE PAY              06/04/2020                           17.50
General Ledger Entry                      HCKZ ACCIDENT FUND ONLINE PAY              06/05/2020       eft                 57.95
City of Grand Rapids Income Tax Dept                                                 06/05/2020    83545                1,497.00
Kentucky Department of Revenue                                                       06/05/2020    83546                1,216.00
Lexington-Fayette Divis on of Revenue                                                06/05/2020    83547                 100.00
General Ledger Entry                      HCBEL ACCIDENT FUND ONLINE PAY             06/05/2020                           17.50
General Ledger Entry                      HCKZ ACCIDENT FUND ONLINE PAY              06/05/2020                           17.50
General Ledger Entry                      HCEL ACCIDENT FUND ONLINE PAY              06/10/2020       eft                 27.95
General Ledger Entry                      HCLN ACCIDENT FUND ONLINE PAY              06/10/2020       eft                 80.00
General Ledger Entry                      HCEL ACCIDENT FUND ONLINE PAY              06/10/2020                           17.50
General Ledger Entry                      HCAA ACCIDENT FUND ONLINE PAY              06/10/2020                           17.50
General Ledger Entry                      HCLN ACCIDENT FUND ONLINE PAY              06/10/2020                           17.50
Valley C ty Linen                                                                    06/16/2020       eft               1,224.21
General Ledger Entry                      HCKC ACCIDENT FUND ONLINE PAY              06/18/2020       eft                686.67
Valley C ty Linen                                                                    06/29/2020    adj CC                212.00
Valley C ty Linen                                                                    06/29/2020    adj CC                212.00
Valley C ty Linen                                                                    06/29/2020    adj CC                212.00
Valley C ty Linen                                                                    06/29/2020    adj CC                212.00
Valley C ty Linen                                                                    06/29/2020    adj CC                212.00
Valley C ty Linen                                                                    06/29/2020    adj CC                212.00
Omega :Yeast Labs                                                                    08/06/2020    83734                 642.00
General Ledger Entry                      Reversed -- GORDON FOOD SERV AR PAYMENT 000 08/15/2020      eft                 11.75
The Lock Up Storage Centers                                                          08/19/2020    83817                 227.60
787 Networks                                                                         10/01/2020    83966                 497.70
Humid ty Controls LLC                                                                10/01/2020    83978       60.00
Underground Cookie Club                                                              10/07/2020    84024      348.00
Arrowaste Inc.                                                                       10/13/2020    84025      877.76
Arrowaste Inc.                                                                       10/13/2020    84026      461.77
Arrowaste Inc.                                                                       10/13/2020    84027     1,052.46
Arrowaste Inc.                                                                       10/13/2020    84028     1,238.48
AT_T                                                                                 10/13/2020    84029      328.69
Beer City Glass                                                                      10/13/2020    84030      755.00
Carlin, Edwards, Brown PLLC                                                          10/13/2020    84031      386.00
CertaSite, LLC                                                                       10/13/2020    84032    11,449.87
Corrigan Logistics                                                                   10/13/2020    84033     1,868.00
Cozzini Bros Inc                                                                     10/13/2020    84034       79.00
CTS Telecom Inc                                                                      10/13/2020    84035      239.95
Detroit Health Dept                                                                  10/13/2020    84036                 760.00
Ingham County Health Department                                                      10/13/2020    84038     2,010.00
Kalamazoo Co Health and Commun ty                                                    10/13/2020    84039                 531.00
Keg Logistics LLC                                                                    10/13/2020    84040      756.00
Kent County Health Department                                                        10/13/2020    84041                 580.00
Kent County Health Department                                                        10/13/2020    84042                 580.00
Kent County Health Department                                                        10/13/2020    84043                 580.00
Kent County Health Department                                                        10/13/2020    84044                 580.00
Lincoln Nat onal Life Insurance Company                                              10/13/2020    84045      350.00
Lincoln-Lancaster County Health Department                                           10/13/2020    84046      770.00
Midwest Cutlery Service                                                              10/13/2020    84047                  27.00
NCR Corporation                                                                      10/13/2020    84048      303.62
Organicycle                                                                          10/13/2020    84049      900.00
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Ottawa Co Health Dept                                                             10/13/2020    84050      1,030.00
Steptoe & Johnson PLLC                                                            10/13/2020    84051        81.00
TDS                                                                               10/13/2020    84052                  575.34
Tech Masters Inc.                                                                 10/13/2020    84053       332.91
ULINE                                                                             10/13/2020    84054        70.38
Washtenaw County Environmental Health                                             10/13/2020    84055                  283.00
Washtenaw County Environmental Health                                             10/13/2020    84056                 1,181.00
Waste Management of Michigan                                                      10/13/2020    84057      1,532.20
West Michigan Tag _ Label                                                         10/13/2020    84058      1,712.75
Wisely Inc.                                                                       10/13/2020    84059      8,130.20
Gordon Food Service                                                               10/19/2020        eft    4,558.19
Gordon Food Service                                                               10/19/2020        eft    1,114.98
Gordon Food Service                                                               10/19/2020        eft    5,053.11
Gordon Food Service                                                               10/19/2020        eft    3,153.42
Gordon Food Service                                                               10/19/2020        eft    3,789.01
Gordon Food Service                                                               10/19/2020        eft    6,798.90
Gordon Food Service                                                               10/19/2020        eft    5,415.51
Gordon Food Service                                                               10/19/2020        eft      27.83
General Ledger Entry                     Paytronix E-Gift Card Payment - refund   10/19/2020        eft     125.00
ECOLAB                                                                            10/19/2020    84060      4,280.91
Gordon Food Service                                                               10/20/2020        eft    6,026.42
Gordon Food Service                                                               10/20/2020        eft    9,392.44
Gordon Food Service                                                               10/20/2020        eft    6,634.18
Gordon Food Service                                                               10/20/2020        eft    1,312.54
Gordon Food Service                                                               10/20/2020        eft    3,689.38
Gordon Food Service                                                               10/20/2020        eft    4,320.12
Gordon Food Service                                                               10/20/2020        eft    5,654.48
Gordon Food Service                                                               10/20/2020        eft    6,666.18
Gordon Food Service                                                               10/20/2020        eft    3,867.72
Gordon Food Service                                                               10/20/2020        eft    5,366.54
Gordon Food Service                                                               10/20/2020        eft   10,225.26
Lincoln-Lancaster County Health Depart   Paid with CS Credit Card                 10/20/2020   Vo ded -     -770.00
Enviro-Master of West Michigan                                                    10/21/2020        eft     943.00
General Ledger Entry                     Interco CASH                             10/21/2020        eft     239.16
General Ledger Entry                     Interco CASH                             10/21/2020        eft     281.07
General Ledger Entry                     Interco CASH                             10/21/2020        eft     560.00
General Ledger Entry                     Paytronix E-Gift Card Payment - refund   10/21/2020        eft     100.00
Gordon Food Service                                                               10/21/2020        eft     186.15
Advantage Water Cond. Inc.                                                        10/21/2020    84061                   69.55
AT_T                                                                              10/21/2020    84062                  220.72
CertaSite, LLC                                                                    10/21/2020    84063                   21.07
City of East Lansing                                                              10/21/2020    84064                  950.00
Comcast                                                                           10/21/2020    84065                  546.56
Cozzini Bros Inc                                                                  10/21/2020    84066                  172.18
D-C Elevator Co., Inc.                                                            10/21/2020    84067                  135.93
ECOLAB                                                                            10/21/2020    84068                  321.38
Ecolab EcoSure                                                                    10/21/2020    84069                 3,195.96
Ecolab Pest Elim Div                                                              10/21/2020    84070                  193.05
Emergent Malt                                                                     10/21/2020    84071                  548.50
Hoekstra Electrical Serv ces                                                      10/21/2020    84072                 1,430.00
Integr ty Business Solutions                                                      10/21/2020    84073                   51.64
Midwest Cutlery Service                                                           10/21/2020    84074        27.00
Printing Productions Ink                                                          10/21/2020    84075                  271.82
Sierra Lawn Care LLC                                                              10/21/2020    84076                  479.48
TDS                                                                               10/21/2020    84077                  505.37
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TDS                                                                    10/21/2020      84078                    535.06
TDS                                                                    10/21/2020      84079                    493.10
Underground Cookie Club                                                10/21/2020      84080                    300.00
Uribe Refuse Serv ces                                                  10/21/2020      84081                     85.00
VSP Insurance Co.                                                      10/21/2020      84082                    139.33
VSP Insurance Co.                                                      10/21/2020      84083                    548.99
VSP Insurance Co.                                                      10/21/2020      84084                    117.64
Airgas USA LLC - Rental                 BILLPMT                        10/21/2020   ######         373.47
                                                                                      ###
Armock Mechanical                       BILLPMT                        10/21/2020   ######         406.50
Boston Square                           BILLPMT                        10/21/2020   ######         235.00
                                                                                      ###
Domant Property Services                BILLPMT                        10/21/2020   ######         837.89
                                                                                      ###
Dover Grease Traps, Inc.                BILLPMT                        10/21/2020   ######         815.50
DVCLEANINDY, LLC                        BILLPMT                        10/21/2020   ######        3,325.00
                                                                                      ###
Enviro-Master of Detroit                BILLPMT                        10/21/2020   ######        7,388.34
Grand Rap ds Graphix                    BILLPMT                        10/21/2020   ######        1,399.65
Indeed Inc                              BILLPMT                        10/21/2020   ######         100.00
                                                                                      ###
Insite Business Solutions               BILLPMT                        10/21/2020   ######        1,613.86
R. L. Schrieber                         BILLPMT                        10/21/2020   ######        1,280.89
Rotella's Italian Bakery, Inc.          BILLPMT                        10/21/2020   ######         583.40
                                                                                      ###
Swept Away                              BILLPMT                        10/21/2020   ######        2,345.00
Town Center Inc.                        BILLPMT                        10/21/2020   ######        2,541.06
Unifirst Corporation - Lincoln          BILLPMT                        10/21/2020   ######         357.44
                                                                                      ###
Compeat, Inc.                           BILLPMT                        10/21/2020   ######        2,461.37
My Green Michigan LLC                   BILLPMT                        10/21/2020   ######         464.50
                                                                                      ###
NuCO2                                   BILLPMT                        10/21/2020   ######         246.85
QSR Automations Inc.                    BILLPMT                        10/21/2020   ######         946.40
Gordon Food Service                                                    10/22/2020        eft      4,057.62
Gordon Food Service                                                    10/22/2020        eft      8,180.07
Gordon Food Service                                                    10/22/2020        eft      4,778.59
Gordon Food Service                                                    10/22/2020        eft      4,979.03
Gordon Food Service                                                    10/22/2020        eft      2,056.25
Gordon Food Service                                                    10/22/2020        eft      5,020.10
Gordon Food Service                                                    10/22/2020        eft      6,964.16
Gordon Food Service                                                    10/22/2020        eft      7,203.87
Gordon Food Service                                                    10/22/2020        eft      5,232.54
Gordon Food Service                                                    10/22/2020        eft      5,990.97
General Ledger Entry                    VISA PAYMENT                   10/22/2020        eft      4,816.88
General Ledger Entry                    Interco CASH                   10/22/2020        eft       300.00
City of East Lansing                                                   10/22/2020      84085                    150.00
City of East Lansing                                                   10/22/2020      84086                    275.00
City of Ann Arbor                                                      10/22/2020      84087                    600.00
Star 2 Star Communications LLC                                         10/23/2020        eft                    108.20
Total Checks and Charges                                                                       223,464.74    55,720.91
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                                                    Return Service Requested                                            Page:             1 of 4
                                                                                                                        Statement Date: 10/30/2020
                                                                                                                        Primary Account: XXXXXX0451
                                                                         07001
                                                                                                                        Documents:       0

                                                                                                                        Period: 09/30/20 to 10/30/20
MGMCSTMTN 201031-19527-0001




                                                                                                                      E
                                                            HOPCAT - HOLLAND, LLC                              <T> 30-0
                                                            35 OAKES ST SW STE 400                                    0
                                                            GRAND RAPIDS, MI 49503                                    0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                           Account: XXXXXX0451
                               Last Statement     Previous Balance        This Statement    Current Balance         Total Credits      Total Debits
                                  09/30/20              0.00                     10/30/20        0.00           150,045.12 (120)      150,045.12 (51)


                              CREDITS
                              Date Description                                                                                                Amount
                              10/01   American Express Settlement XXXXXX2107                                                                     59.63
                              10/01   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                      277.31
                              10/01   Doordash, Inc. West 8th S St-                                                                             896.94
                              10/01   Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard Comb. Dep.                     Hop                             2,349.72
                              10/02   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                      124.82
                              10/02   Grubhub Inc Sep Actvty                                                                                    187.30
                              10/02   Doordash, Inc. West 8th S St-                                                                             718.84
                              10/02   Grubhub Inc Sep Actvty                                                                                  2,353.92
                              10/02   Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard Comb. Dep.                     Hop                             2,689.21
                              10/05   Postmates Inc. 1250 Oct 1 St-                                                                              46.81
                              10/05   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                      162.63
                              10/05   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                      172.40
                              10/05   Doordash, Inc. West 8th S St-                                                                             310.48
                              10/05   American Express Settlement XXXXXX2107                                                                    362.57
                              10/05   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                      476.41
                              10/05   American Express Settlement XXXXXX2107                                                                    643.37
                              10/05   Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard Comb. Dep.                     Hop                             4,409.51
                              10/05   Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard Comb. Dep.                     Hop                             4,485.07
                              10/05   Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard Comb. Dep.                     Hop                             6,166.13
                              10/06   Postmates Inc. 1250 Oct 4 St-                                                                              67.65
                              10/06   American Express Settlement XXXXXX2107                                                                    214.24
                              10/06   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                      618.72
                              10/06   Doordash, Inc. West 8th S St-                                                                           1,185.68
                              10/06   Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard Comb. Dep.                     Hop                             1,941.16
                              10/07   American Express Settlement XXXXXX2107                                                                    124.03
                              10/07   Doordash, Inc. West 8th S St-                                                                             195.34
                              10/07   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                      424.84
                              10/07   Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard Comb. Dep.                     Hop                             1,567.01
                              10/08   Postmates Inc. 1250 Oct 6 St-                                                                              24.86
                              10/08   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                       85.87
                              10/08   American Express Settlement XXXXXX2107                                                                    102.31
                              10/08   Doordash, Inc. West 8th S St-                                                                             733.95
                              10/08   Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard Comb. Dep.                     Hop                             2,536.15
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                                                                             HOPCAT - HOLLAND, LLC                          Page:            3 of 4
                                                                             35 OAKES ST SW STE 400
                                                                             GRAND RAP DS, MI 49503                         Statement Date: 10/30/2020
                                                                                                                            Primary Account: XXXXXX0451




                               CREDITS (Continued)
MGMCSTMTN 201031-19527-0003




                              Date Description                                                                                                Amount
                              10/22   Doordash, Inc. West 8th S St-                                                                             598.89
                              10/22   Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard Comb. Dep.                      Hop                            2,968.50
                              10/23   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                      164.98
                              10/23   American Express Settlement XXXXXX2107                                                                    168.58
                              10/23   Doordash, Inc. West 8th S St-                                                                             354.18
                              10/23   Grubhub Inc Oct Actvty                                                                                    725.59
                              10/23   Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard Comb. Dep.                      Hop                            3,396.89
                              10/26   Postmates Inc. 1250 Oct 2 St-                                                                              24.58
                              10/26   American Express Settlement XXXXXX2107                                                                    200.88
                              10/26   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                      248.78
                              10/26   Doordash, Inc. West 8th S St-                                                                             263.53
                              10/26   American Express Settlement XXXXXX2107                                                                    271.76
                              10/26   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                      308.43
                              10/26   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                      362.00
                              10/26   American Express Settlement XXXXXX2107                                                                    702.56
                              10/26   Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard Comb. Dep.                      Hop                            3,057.57
                              10/26   Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard Comb. Dep.                      Hop                            6,112.80
                              10/26   Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard Comb. Dep.                      Hop                            7,749.13
                              10/27   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                      210.69
                              10/27   American Express Settlement XXXXXX2107                                                                    310.84
                              10/27   Doordash, Inc. West 8th S St-                                                                             981.10
                              10/28   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                       26.24
                              10/28   Transfer From Coml Analysis Ck Account                                                                  8,977.72
                              10/29   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                       80.83
                              10/29   Transfer From Coml Analysis Ck Account                                                                    249.17
                              10/30   American Express Settlement XXXXXX2107                                                                     29.24
                              10/30   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                      369.53
                              10/30   Grubhub Inc Oct Actvty                                                                                    993.09

                               CHECKS
                               Date      Check No      Amount         Date         Check No           Amount         Date      Check No     Amount
                              10/28       10019        9,003.96
                              * Indicates a Gap in Check Number Sequence

                               DEBITS
                              Date Description                                                                                                Amount
                              10/01   Imperial Beverag Fintecheft XX-XXX7132                                                                    409.00
                              10/01   Alliance Beverag Fintecheft XX-XXX7132                                                                    703.40
                              10/01   Transfer To Coml Analysis Ck Account                                                                    2,471.20
                              10/02   I.h.s. Dist. Co. Fintecheft XX-XXX7132                                                                     38.00
                              10/02   Transfer To Coml Analysis Ck Account                                                                    6,036.09
                              10/05   Henry A. Fox Sal Fintecheft XX-XXX7132                                                                    108.00
                              10/05   Restaurant Techn Eft Draft                                                                                568.65
                              10/05   Cred Fees 5/3 Bankcard Sys 5/3 Bankcard Cred Fees                 Hop                                   2,384.98
                              10/05   Transfer To Coml Analysis Ck Account                                                                   14,173.75
                              10/06   Billng Vantiv_intg_pymt Merch Bankcard        Hopcat Holland - Ecomm                                      211.86
                              10/06   Transfer To Coml Analysis Ck Account                                                                    3,815.59
                              10/07   Transfer To Coml Analysis Ck Account                                                                    2,311.22
                              10/08   M4 C.i.c, Llc Fintecheft XX-XXX7132                                                                        60.00
                              10/08   Imperial Beverag Fintecheft XX-XXX7132                                                                    438.80
                              10/08   Alliance Beverag Fintecheft XX-XXX7132                                                                    797.15
                              10/08   Transfer To Coml Analysis Ck Account                                                                    2,187.19
                              10/09   Fintech.net Fintecheft XX-XXX7132                                                                          37.32
                              10/09   Mervenne Beverag Fintecheft XX-XXX7132                                                                     38.40
                              10/09   I.h.s. Dist. Co. Fintecheft XX-XXX7132                                                                     90.00
                              10/09   Fifth Third Ach Mps Billng                                                                                754.56
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                                                                         HOPCAT - HOLLAND, LLC                 Page:            4 of 4
                                                                         35 OAKES ST SW STE 400
                                                                         GRAND RAP DS, MI 49503                Statement Date: 10/30/2020
                                                                                                               Primary Account: XXXXXX0451




                              DEBITS (Continued)
MGMCSTMTN 201031-19527-0004




                              Date Description                                                                                   Amount
                              10/09   Transfer To Coml Analysis Ck Account                                                       4,996.08
                              10/13   Henry A. Fox Sal Fintecheft XX-XXX7132                                                       229.00
                              10/13   Transfer To Coml Analysis Ck Account                                                      28,242.98
                              10/14   State Of Michgwl Liquorsale #xxxxx2214                                                       142.07
                              10/14   State Of Michnws Liquorsale #xxxxx1534                                                       391.33
                              10/14   Transfer To Coml Analysis Ck Account                                                       1,766.13
                              10/15   Commercial Service Charge                                                                     89.22
                              10/15   Alliance Beverag Fintecheft XX-XXX7132                                                       186.15
                              10/15   Transfer To Coml Analysis Ck Account                                                       3,531.83
                              10/16   Imperial Beverag Fintecheft XX-XXX7132                                                       344.00
                              10/16   Transfer To Coml Analysis Ck Account                                                       5,489.13
                              10/19   Transfer To Coml Analysis Ck Account                                                      21,683.19
                              10/20   Mervenne Beverag Fintecheft XX-XXX7132                                                        95.00
                              10/20   Imperial Beverag Fintecheft XX-XXX7132                                                       215.00
                              10/20   Restaurant Techn Eft Draft                                                                   940.77
                              10/20   Transfer To Coml Analysis Ck Account                                                       1,751.21
                              10/21   Transfer To Coml Analysis Ck Account                                                       2,187.16
                              10/22   Alliance Beverag Fintecheft XX-XXX7132                                                       370.00
                              10/22   Imperial Beverag Fintecheft XX-XXX7132                                                       419.00
                              10/22   Transfer To Coml Analysis Ck Account                                                       3,000.02
                              10/23   I.h.s. Dist. Co. Fintecheft XX-XXX7132                                                       196.70
                              10/23   Transfer To Coml Analysis Ck Account                                                       4,613.52
                              10/26   Transfer To Coml Analysis Ck Account                                                      19,302.02
                              10/27   State Of Michgwl Liquorsale #xxxxx7353                                                       415.21
                              10/27   State Of Michnws Liquorsale #xxxxx8169                                                       429.97
                              10/27   Transfer To Coml Analysis Ck Account                                                         657.45
                              10/29   Alliance Beverag Fintecheft XX-XXX7132                                                       149.00
                              10/29   Imperial Beverag Fintecheft XX-XXX7132                                                       181.00
                              10/30   Mervenne Beverag Fintecheft XX-XXX7132                                                       149.00
                              10/30   Transfer To Coml Analysis Ck Account                                                       1,242.86

                              DAILY BALANCE
                                Date                 Balance            Date                      Balance   Date            Balance
                                 10/01                                 10/13                                10/22
                                 10/02                                 10/14                                10/23
                                 10/05                                 10/15                                10/26
                                 10/06                                 10/16                                10/27
                                 10/07                                 10/19                                10/28
                                 10/08                                 10/20                                10/29
                                 10/09                                 10/21                                10/30
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                                      BarFly Ventures
                                    Reconciliation Report
                                                 As Of 10/25/2020
                            Account: HC Holland Mercantile Checking Account
Statement Ending Balance                                                                                         0.00

Deposits in Transit                                                                                         21,422.72

Outstanding Checks and Charges                                                                              -9,003.96

Adjusted Bank Balance                                                                                       12,418.76



Book Balance                                                                                                12,418.76

Adjustments*                                                                                                     0.00

Adjusted Book Balance                                                                                       12,418.76




                            Total Checks and Charges Cleared         149,526.11 Total Deposits Cleared     149,526.11




Deposits
Name                        Memo                                    Date            Doc No      Cleared     In Transit

General Ledger Entry        AMEX                                    07/01/2020                     66.12

General Ledger Entry        WORLD PAY - OLO AMEX                    07/14/2020                                  27.03

General Ledger Entry        WORLD PAY - OLO AMEX                    08/02/2020                                  49.52

General Ledger Entry        AMEX                                    08/06/2020                    279.03

General Ledger Entry        AMEX                                    08/08/2020                                  50.43

General Ledger Entry        WORLD PAY - OLO AMEX                    08/22/2020                                  32.07

General Ledger Entry        WORLD PAY - OLO TENDER                  08/25/2020                                 207.70

General Ledger Entry        WORLD PAY - OLO AMEX                    09/01/2020                     20.61

General Ledger Entry        AMEX                                    09/03/2020                                 278.23

General Ledger Entry        AMEX                                    09/04/2020                    282.41

General Ledger Entry        WORLD PAY - OLO AMEX                    09/06/2020                      7.26

General Ledger Entry        WORLD PAY - OLO AMEX                    09/07/2020                                  30.21

General Ledger Entry        AMEX                                    09/09/2020                    102.60

General Ledger Entry        AMEX                                    09/10/2020                    482.80

General Ledger Entry        AMEX                                    09/11/2020                    110.66

General Ledger Entry        AMEX                                    09/12/2020                    284.70

General Ledger Entry        WORLD PAY - OLO AMEX                    09/12/2020                                  72.83

General Ledger Entry        AMEX                                    09/14/2020                                  49.69

General Ledger Entry        CASH DEPOSIT HCHOL                      09/14/2020                                 131.00

General Ledger Entry        AMEX                                    09/15/2020                    116.31

General Ledger Entry        CASH DEPOSIT HCHOL                      09/16/2020                                    9.00

General Ledger Entry        WORLD PAY - OLO AMEX                    09/18/2020                                    0.80

General Ledger Entry        WORLD PAY - OLO TENDER                  09/19/2020                    345.36
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General Ledger Entry     WORLD PAY - OLO AMEX                 09/23/2020           17.76

General Ledger Entry     WORLD PAY - OLO TENDER               09/23/2020          247.46

General Ledger Entry     WORLD PAY - OLO AMEX                 09/24/2020           72.52

General Ledger Entry     WORLDPAY                             09/25/2020         6,904.71

General Ledger Entry     WORLD PAY - OLO TENDER               09/26/2020          488.67

General Ledger Entry     WORLDPAY                             09/26/2020         9,682.90

General Ledger Entry     WORLDPAY                             09/27/2020                    4,701.85

General Ledger Entry     WORLD PAY - OLO TENDER               09/27/2020          275.08

General Ledger Entry     Postmates Sales HCHOL 09.28.20       09/28/2020           55.01

General Ledger Entry     WORLDPAY                             09/28/2020                    1,973.44

General Ledger Entry     AMEX                                 09/28/2020                      95.14

General Ledger Entry     WORLD PAY - OLO TENDER               09/28/2020          277.31

General Ledger Entry     DoorDash Sales HCHOL 09.28.20        09/28/2020          431.69

General Ledger Entry     Unknown WORLDPAY Variance HCHOL      09/29/2020   eft       0.91

General Ledger Entry     Interco CASH                         09/29/2020   eft   1,471.28

General Ledger Entry     WORLD PAY - OLO TENDER               09/29/2020          124.82

General Ledger Entry     CASH DEPOSIT HCHOL                   09/29/2020                      49.00

General Ledger Entry     WORLD PAY - OLO AMEX                 09/29/2020           12.10

General Ledger Entry     DoorDash Sales HCHOL 09.29.20        09/29/2020          655.22

General Ledger Entry     Postmates Sales HCHOL 09.29.20       09/29/2020           36.72

General Ledger Entry     WORLDPAY                             09/29/2020         1,039.52

General Ledger Entry     AMEX                                 09/29/2020                      49.75

General Ledger Entry     WORLD PAY - OLO TENDER               09/30/2020          172.40

General Ledger Entry     WORLDPAY                             09/30/2020         2,349.72

General Ledger Entry     DoorDash Sales HCHOL 09.30.20        09/30/2020          681.77

General Ledger Entry     Unknown AMEX Variance HCHOL          10/01/2020   eft      3.11

General Ledger Entry     Unknown AMEX Variance HCHOL          10/01/2020   eft      1.33

General Ledger Entry     DoorDash Sales HCHOL 10.01.20        10/01/2020          896.94

General Ledger Entry     WORLD PAY - OLO TENDER               10/01/2020          162.63

General Ledger Entry     WORLD PAY - OLO AMEX                 10/01/2020                     197.17

General Ledger Entry     AMEX                                 10/01/2020                     178.67

General Ledger Entry     WORLDPAY                             10/01/2020         2,689.21

General Ledger Entry     DoorDash Sales HCHOL 10.02.20        10/02/2020          718.84

General Ledger Entry     WORLD PAY - OLO AMEX                 10/02/2020           49.00

General Ledger Entry     GRUBHUB Sales HCHOL 10.02.20         10/02/2020          187.30

General Ledger Entry     WORLD PAY - OLO TENDER               10/02/2020          476.41

General Ledger Entry     WORLDPAY                             10/02/2020         4,485.07

General Ledger Entry     CASH DEPOSIT HCHOL                   10/02/2020                     214.00

General Ledger Entry     AMEX                                 10/02/2020                     268.72

General Ledger Entry     GRUBHUB Sales HCHOL 10.02.20         10/02/2020         2,353.92

General Ledger Entry     WORLDPAY                             10/03/2020         6,166.13

General Ledger Entry     AMEX                                 10/03/2020          208.25

General Ledger Entry     WORLD PAY - OLO TENDER               10/03/2020          618.72

General Ledger Entry     WORLD PAY - OLO AMEX                 10/03/2020          139.66
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General Ledger Entry     WORLD PAY - OLO AMEX                 10/04/2020                      90.37

General Ledger Entry     WORLDPAY                             10/04/2020          4,409.51

General Ledger Entry     WORLD PAY - OLO TENDER               10/04/2020           434.38

General Ledger Entry     AMEX                                 10/04/2020           131.33

General Ledger Entry     Unknown AMEX Variance HCHOL          10/05/2020   eft        0.57

General Ledger Entry     WORLDPAY                             10/05/2020          1,941.16

General Ledger Entry     AMEX                                 10/05/2020           128.39

General Ledger Entry     WORLD PAY - OLO TENDER               10/05/2020            85.87

General Ledger Entry     DoorDash Sales HCHOL 10.05.20        10/05/2020           310.48

General Ledger Entry     CASH DEPOSIT HCHOL                   10/05/2020                      31.00

General Ledger Entry     Postmates Sales HCHOL 10.05.20       10/05/2020            46.81

General Ledger Entry     Unknown AMEX Variance HCHOL          10/06/2020   eft        3.55

General Ledger Entry     WORLDPAY                             10/06/2020          1,567.01

General Ledger Entry     WORLD PAY - OLO TENDER               10/06/2020           131.71

General Ledger Entry     AMEX                                 10/06/2020           105.99

General Ledger Entry     DoorDash Sales HCHOL 10.06.20        10/06/2020          1,185.68

General Ledger Entry     Postmates Sales HCHOL 10.06.20       10/06/2020            67.65

General Ledger Entry     Unknown AMEX Variance HCHOL          10/07/2020   eft        0.46

General Ledger Entry     CASH DEPOSIT HCHOL                   10/07/2020                     156.00

General Ledger Entry     AMEX                                 10/07/2020           107.52

General Ledger Entry     WORLD PAY - OLO TENDER               10/07/2020           133.57

General Ledger Entry     WORLDPAY                             10/07/2020          2,536.15

General Ledger Entry     DoorDash Sales HCHOL 10.07.20        10/07/2020           195.34

General Ledger Entry     AMEX                                 10/08/2020                     232.34

General Ledger Entry     WORLD PAY - OLO TENDER               10/08/2020           285.00

General Ledger Entry     DoorDash Sales HCHOL 10.08.20        10/08/2020           733.95

General Ledger Entry     Postmates Sales HCHOL 10.08.20       10/08/2020            24.86

General Ledger Entry     WORLDPAY                             10/08/2020          4,012.60

General Ledger Entry     AMEX                                 10/09/2020           342.53

General Ledger Entry     WORLD PAY - OLO AMEX                 10/09/2020            24.65

General Ledger Entry     CASH DEPOSIT HCHOL                   10/09/2020                      31.00

General Ledger Entry     WORLDPAY                             10/09/2020          6,753.14

General Ledger Entry     GRUBHUB Sales HCHOL 10.09.20         10/09/2020           769.44

General Ledger Entry     DoorDash Sales HCHOL 10.09.20        10/09/2020           898.61

General Ledger Entry     WORLD PAY - OLO TENDER               10/09/2020           674.00

General Ledger Entry     WORLD PAY - OLO AMEX                 10/10/2020            39.22

General Ledger Entry     AMEX                                 10/10/2020           907.35

General Ledger Entry     WORLD PAY - OLO TENDER               10/10/2020           569.29

General Ledger Entry     WORLDPAY                             10/10/2020         10,066.03

General Ledger Entry     WORLD PAY - OLO TENDER               10/11/2020           203.54

General Ledger Entry     WORLDPAY                             10/11/2020          4,795.24

General Ledger Entry     AMEX                                 10/11/2020           381.15

General Ledger Entry     AMEX                                 10/12/2020           133.41

General Ledger Entry     WORLDPAY                             10/12/2020          2,201.95
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General Ledger Entry     WORLD PAY - OLO TENDER               10/12/2020          120.58

General Ledger Entry     WORLDPAY                             10/13/2020         1,492.35

General Ledger Entry     DoorDash Sales HCHOL 10.13.20        10/13/2020          219.63

General Ledger Entry     AMEX                                 10/13/2020          319.73

General Ledger Entry     WORLD PAY - OLO TENDER               10/13/2020          233.78

General Ledger Entry     DoorDash Sales HCHOL 10.13.20        10/13/2020          927.61

General Ledger Entry     Unknown AMEX Variance HCHOL          10/14/2020   eft      1.39

General Ledger Entry     WORLD PAY - OLO TENDER               10/14/2020          235.50

General Ledger Entry     WORLDPAY                             10/14/2020         2,874.35

General Ledger Entry     AMEX                                 10/14/2020          179.07

General Ledger Entry     DoorDash Sales HCHOL 10.14.20        10/14/2020          474.60

General Ledger Entry     CASH DEPOSIT HCHOL                   10/14/2020                     27.00

General Ledger Entry     Unknown AMEX Variance HCHOL          10/15/2020   eft      0.04

General Ledger Entry     Unknown AMEX Variance HCHOL          10/15/2020   eft      0.93

General Ledger Entry     WORLDPAY                             10/15/2020         4,004.45

General Ledger Entry     WORLD PAY - OLO TENDER               10/15/2020          205.10

General Ledger Entry     AMEX                                 10/15/2020          187.62

General Ledger Entry     Postmates Sales HCHOL 10.15.20       10/15/2020           47.04

General Ledger Entry     DoorDash Sales HCHOL 10.15.20        10/15/2020          402.86

General Ledger Entry     Postmates Sales HCHOL 10.15.20       10/15/2020           28.28

General Ledger Entry     Postmates Sales HCHOL 10.15.20       10/15/2020           23.81

General Ledger Entry     WORLD PAY - OLO AMEX                 10/16/2020                     34.98

General Ledger Entry     DoorDash Sales HCHOL 10.16.20        10/16/2020          787.40

General Ledger Entry     GRUBHUB Sales HCHOL 10.16.20         10/16/2020          634.24

General Ledger Entry     AMEX                                 10/16/2020                    264.65

General Ledger Entry     WORLDPAY                             10/16/2020         5,914.99

General Ledger Entry     WORLD PAY - OLO TENDER               10/16/2020          503.60

General Ledger Entry     AMEX                                 10/17/2020          459.46

General Ledger Entry     WORLD PAY - OLO TENDER               10/17/2020          524.89

General Ledger Entry     WORLDPAY                             10/17/2020         8,558.45

General Ledger Entry     WORLD PAY - OLO AMEX                 10/17/2020                     57.29

General Ledger Entry     WORLD PAY - OLO TENDER               10/18/2020          614.91

General Ledger Entry     AMEX                                 10/18/2020          129.00

General Ledger Entry     WORLDPAY                             10/18/2020         4,524.35

General Ledger Entry     Unknown AMEX Variance HCHOL          10/19/2020   eft      7.30

General Ledger Entry     WORLD PAY - OLO AMEX                 10/19/2020                     28.62

General Ledger Entry     AMEX                                 10/19/2020                     39.00

General Ledger Entry     WORLDPAY                             10/19/2020         1,334.87

General Ledger Entry     WORLD PAY - OLO TENDER               10/19/2020          163.46

General Ledger Entry     DoorDash Sales HCHOL 10.19.20        10/19/2020          212.36

General Ledger Entry     Postmates Sales HCHOL 10.19.20       10/19/2020           15.07

General Ledger Entry     Postmates Sales HCHOL 10.19.20       10/19/2020           33.37

General Ledger Entry     Unknown AMEX Variance HCHOL          10/20/2020   eft      2.36

General Ledger Entry     DoorDash Sales HCHOL 10.20.20        10/20/2020          927.43
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General Ledger Entry        CASH DEPOSIT HCHOL                   10/20/2020                                   54.50

General Ledger Entry        WORLD PAY - OLO AMEX                 10/20/2020                                   35.25

General Ledger Entry        AMEX                                 10/20/2020                                  106.07

General Ledger Entry        WORLD PAY - OLO TENDER               10/20/2020                      4.77

General Ledger Entry        WORLDPAY                             10/20/2020                  1,331.13

General Ledger Entry        Postmates Sales HCHOL 10.21.20       10/21/2020                    40.47

General Ledger Entry        WORLD PAY - OLO TENDER               10/21/2020                                  191.75

General Ledger Entry        AMEX                                 10/21/2020                   173.96

General Ledger Entry        WORLDPAY                             10/21/2020                  2,968.50

General Ledger Entry        DoorDash Sales HCHOL 10.21.20        10/21/2020                   586.81

General Ledger Entry        AMEX                                 10/22/2020                                  196.17

General Ledger Entry        WORLD PAY - OLO TENDER               10/22/2020                                  248.78

General Ledger Entry        Postmates Sales HCHOL 10.22.20       10/22/2020                    80.41

General Ledger Entry        DoorDash Sales HCHOL 10.22.20        10/22/2020                   598.89

General Ledger Entry        WORLDPAY                             10/22/2020                  3,396.89

General Ledger Entry        WORLD PAY - OLO AMEX                 10/22/2020                    11.93

General Ledger Entry        Unknown WORLDPAY Variance HCHOL      10/23/2020         eft          5.97

General Ledger Entry        Unknown AMEX Variance HCHOL          10/23/2020         eft          0.97

General Ledger Entry        DoorDash Sales HCHOL 10.23.20        10/23/2020                   354.18

General Ledger Entry        AMEX                                 10/23/2020                   223.17

General Ledger Entry        WORLDPAY                             10/23/2020                  6,112.80

General Ledger Entry        WORLD PAY - OLO TENDER               10/23/2020                   308.43

General Ledger Entry        WORLD PAY - OLO AMEX                 10/23/2020                    58.30

General Ledger Entry        GRUBHUB Sales HCHOL 10.23.20         10/23/2020                   725.59

General Ledger Entry        Unknown AMEX Variance HCHOL          10/24/2020         eft          5.12

General Ledger Entry        AMEX                                 10/24/2020                   707.06

General Ledger Entry        WORLD PAY - OLO AMEX                 10/24/2020                    19.35

General Ledger Entry        WORLD PAY - OLO TENDER               10/24/2020                   362.00

General Ledger Entry        WORLDPAY                             10/24/2020                                7,749.13

General Ledger Entry        CASH DEPOSIT HCHOL                   10/25/2020                                  125.00

General Ledger Entry        WORLD PAY - OLO TENDER               10/25/2020                   210.69

General Ledger Entry        AMEX                                 10/25/2020                   321.45

General Ledger Entry        WORLDPAY                             10/25/2020                                3,057.57

Total Deposits                                                                            149,526.11     21,422.72




Checks and Charges
Name                        Memo                                 Date         Check No       Cleared    Outstanding

Michigan Dept of Treasury                                        09/17/2020      10018       8,527.18

General Ledger Entry        Interco CASH                         09/28/2020         eft     19,291.00

Red Tap Solutions                                                09/29/2020        EFT        800.00

General Ledger Entry        Interco CASH                         09/30/2020         eft      2,335.75

General Ledger Entry        Unknown WORLDPAY Variance HCHOL      09/30/2020         eft          6.80

General Ledger Entry        Unknown AMEX Variance HCHOL          09/30/2020         eft          0.43

General Ledger Entry        Unknown WORLDPAY Variance HCHOL      09/30/2020         eft          1.10
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General Ledger Entry             Unknown AMEX Variance HCHOL                    09/30/2020      eft        4.15

General Ledger Entry             Interco CASH                                   10/01/2020      eft    2,471.20

Alliance Beverage Distributing LLC                                              10/01/2020      EFT     703.40

Imperial Beverage                                                               10/01/2020      EFT     409.00

General Ledger Entry             Unknown AMEX Variance HCHOL                    10/01/2020      eft        3.15

General Ledger Entry             Interco CASH                                   10/02/2020      eft    6,036.09

IHS Distributing                                                                10/02/2020      EFT      38.00

Henry A. Fox Sales Co.                                                          10/05/2020      EFT     108.00

Restaurant Technologies, Inc                                                    10/05/2020      EFT     568.65

General Ledger Entry             Interco CASH                                   10/05/2020      eft   14,173.75

General Ledger Entry             Interco CASH                                   10/06/2020      eft    3,815.59

General Ledger Entry             Unknown WORLDPAY Variance HCHOL                10/07/2020      eft        9.54

General Ledger Entry             Interco CASH                                   10/07/2020      eft    2,311.22

M4 C.I.C. LLC                                                                   10/08/2020      EFT      60.00

Alliance Beverage Distributing LLC                                              10/08/2020      EFT     797.15

Imperial Beverage                                                               10/08/2020      EFT     438.80

General Ledger Entry             Unknown AMEX Variance HCHOL                    10/08/2020      eft        0.29

General Ledger Entry             Interco CASH                                   10/08/2020      eft    2,187.19

IHS Distributing                                                                10/09/2020      EFT      90.00

fintech                                                                         10/09/2020      EFT      37.32

Mervenne Beverage, Inc.                                                         10/09/2020      EFT      38.40

General Ledger Entry             Unknown AMEX Variance HCHOL                    10/09/2020      eft        1.99

General Ledger Entry             Interco CASH                                   10/09/2020      eft    4,996.08

General Ledger Entry             Interco CASH                                   10/13/2020      eft   28,242.98

Henry A. Fox Sales Co.                                                          10/13/2020      EFT     229.00

General Ledger Entry             Unknown AMEX Variance HCHOL                    10/13/2020      eft        1.64

General Ledger Entry             Unknown WORLDPAY Variance HCHOL                10/13/2020      eft        5.11

General Ledger Entry             Unknown AMEX Variance HCHOL                    10/13/2020      eft        3.60

General Ledger Entry             Interco CASH                                   10/14/2020      eft    1,766.13

State of Michigan - MLCC                                                        10/14/2020      EFT     142.07

General Ledger Entry             Mercantile Monthly Bank Charges - P10 2020 NewC 10/14/2020     eft      89.22

State of Michigan - MLCC                                                        10/14/2020      EFT     391.33

Michigan Dept of Treasury                                                       10/14/2020    10019               9,003.96

General Ledger Entry             Interco CASH                                   10/15/2020      eft    3,531.83

General Ledger Entry             WorldPay Monthly Charges - P10 2020 NewCo      10/15/2020      eft     754.56

Alliance Beverage Distributing LLC                                              10/15/2020      EFT     186.15

General Ledger Entry             Vantiv Monthly Charges - P10 2020 NewCo        10/15/2020      eft     211.86

General Ledger Entry             WorldPay Monthly Charges - P10 2020 NewCo      10/15/2020      eft    2,384.98

Imperial Beverage                                                               10/16/2020      EFT     344.00

General Ledger Entry             Interco CASH                                   10/16/2020      eft    5,489.13

General Ledger Entry             Unknown AMEX Variance HCHOL                    10/16/2020      eft        0.70

General Ledger Entry             Unknown AMEX Variance HCHOL                    10/17/2020      eft        1.86

General Ledger Entry             Unknown WORLDPAY Variance HCHOL                10/19/2020      eft        9.54

General Ledger Entry             Interco CASH                                   10/19/2020      eft   21,683.19
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General Ledger Entry             Unknown WORLDPAY Variance HCHOL   10/19/2020   eft          3.44

General Ledger Entry             Interco CASH                      10/20/2020   eft      1,751.21

Mervenne Beverage, Inc.                                            10/20/2020   EFT        95.00

Imperial Beverage                                                  10/20/2020   EFT       215.00

Restaurant Technologies, Inc                                       10/20/2020   EFT       940.77

General Ledger Entry             Unknown AMEX Variance HCHOL       10/21/2020   eft         3.36

General Ledger Entry             Interco CASH                      10/21/2020   eft      2,187.16

Imperial Beverage                                                  10/22/2020   EFT       419.00

General Ledger Entry             Unknown AMEX Variance HCHOL       10/22/2020   eft         0.83

Alliance Beverage Distributing LLC                                 10/22/2020   EFT       370.00

General Ledger Entry             Interco CASH                      10/22/2020   eft      3,000.02

General Ledger Entry             Interco CASH                      10/23/2020   eft      4,613.52

IHS Distributing                                                   10/23/2020   EFT       196.70

Total Checks and Charges                                                              149,526.11    9,003.96
